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 1   Mil and 20 Mil SKUs on Jan and Oct 2016).
2
 3
 4   Doug McMillon • Wal-Mart S1ores1 Jue. • President {/IU/ CEO, Wal-Man Stores, Jue.
5    And !hen in e-commerce you saw lhc second quarter pcrfonnancc was belier 1han the firs! quarter pcrfonnancc. Tlial's largely dril'cn to wha1's happening with lhc
     Marketplace in 1h� U.S. And when we itartcd the •car in Janua we had 8 million items on our Markel lace. Herc in Oclobcr, we have 20 million items on the
                                                                     1

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     Markel cc. So the tr.1jccto� of gro111h rdatcd lo U.S. e-commerce in the �larkc1place is s!roni.all(j1\'(; need ii to be.
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                                                                                                                  4)(/\\� �) Investment
8                    '
                    \ JAN 2016
        Work•from-��111(), post
                                                              McMillon repl�e{cf the term
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                                                              "Marke,tp)ftfe with Walmart.com"
                                                                                                                  fl \!JI � (.)) Community Meeting
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         maternity lea,\\Policy                                     ,,;
9            launched in'(' hilc
                           ,
                                \               JAN 20'!,t; ;;"                             SEPT 2016 -
10                                              Sho�.1.�rrn Disability of Sale of shopping malls in Chile
                                     \
                                         \    ;;.tfio OSI \O full time
11    -.......................... , )._(; U.S. hovrly ij�socioh!$
      I             JAN 2016 ;f \                                                                                             OCT 2016
      l Reached 8 million it:;111( I     \                                                                                   Investment in New Dada,
12                                                                                                                           crowd-sourced delivery
      I       on Walrn<1r!com I            \
13     l---------•-••-.•-•I                        '
                                                                                                   OCT 2016
                                                                                                                             in China
                                                 FEB ,<)16
                                                Paid Tin"Off launched                Flagship stores and clubs
14                                              for U.S. �s�iatcs                            open on JD.com

15                    FEP 2016
                1st Walmarl U.S.
                                                                '\                                                            OCT 2016
                                                                                                                             Began one-hovr d livery wilh
16             Academy opened                                        '\                                                      JD Daojia in China
                                                                          \
                                                 MAY 2016             \                OCT 2016
17                                              Re,1chcd 10 million     ,   Sam's Club Scan & Go
                                                items on Walrnart.com     \ rolled out nationwide
18
                      JUNE 2016
                                                                                      \                                       OCT 2016
         Merged Yihaodian into                                                            ,\                                 500 groccrf pickvp

                                                                                 ---..---��-------�
19                                                                                                                           locations in the U.S.
     hino's JD.com dnd invested
20               to acquire 10%                                                                                      I
                                                 JULY2016                        I                     CT 2016
                                                Walmart Pay launched             : Reached 20 rnil��1 item�          I
21
22
                                                nationwide in U.S. store:
                                                                                 ,________________ ,
                                                                                 I        on Wi!lnwt.com             :



23
                160.         Later that day, Robert Ohmes also published a report on Walmart Inc. In his
24

25   report, Ohmes purportedly replaced the tern1 "Marketplace" with "Online/Walmart.com" to

26   whitewash Doug McMillan previous misstatements regarding the total number of SKUs on

27   Walmart's Marketplace.
28
                                                              101
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                                                                                                                                                                 Ohmes replaced the
 1
                                                                                                                                                                 term "Marketplace"
      BofAML forecasts for WMT
                                                                                                                                                                 with "Walmart.com"
 2
 3
      Exhibit 1; WMT ecornmmc analysis
      Sm'·· n,
                         U.S.    US.GNN                              Owned U.S. 01,nc<l U.S.               WMTU.S.              Esllrnatod
                                                                                                                                                                              ---
                                                                                                                                                     Estimated Estlmalod 1tlstimatcdl Online
                      GMV¾chg S Sales                                E-com Sales E-co111 Sales             SIO!e Sales           3P Sales             3p Fees     Foo I of Onllno \ Grocery
 4                     E In F19+ Esbmale                %C              ¾Co        Es6niato    %C           Estimate     %C        SMM       %Co        $MM    ¾ofG      iKUs n mn locations
           Ap(•Ql                      $2,800.0                                   $1.'190.0                $71,805.0            $1,310.0              $131.00   10.0% I        10
                                       S3,100.0                                                            S74,49!.0            $1,350.0              $135.00   10.0% I        15
 5          Jvl-02
            Ocl-03       28.6%         $3,800.0
                                                                                      S1.750.0
                                                                                      $1,760.0             $72,790.0            $2,040.0              $204.00   10.0% \        23
            'Ill• 1      2!lli         ru.@.Q                                         llil9Q,JI            �                    $3,200.0              $320.00   12,lli \ �
 6           F2017       24.2¾         $15,900.0                                      $8,o;xJ.00           $299,833.0           $7,900.0               $790,0   10.0¾ \\ 35
                                                                                                                                                                             " ....... "
           /\jx-Qt       69.0'I,       $4,732.0          69.0%           63.0'/,      S2.410.0     61.7%   S73.02ti.O    1.7%   $2,322.0     TT.3%   $232.20       10.0'/,      50         670
 7          Ju�02        67.0¾         SS.177.0          67.0%           60.0'I,      $2.780,0     58.9%   S75.958.0     2.0%    $2,397.0    77.6%   $239.70       10.0%        67         900
           Ocl-03        54.0¾         $5,852.0          54.0%           50.0%        $2,635.0     49.7%   $75.089.0     3.2%    $3,217.0    57.7%   $321.70       10.0%        70         1000
           Jm>OI         �             s1.u12.o          �               ill:!i       S3,675 o     �       S82 9().1,0   blli   $3,937.0     �       illill        12,lli       �          1100
 8          F20!8        47.0¾         S23,373.0         47.0%           44.0%        SI 1.500.0   13.8%   $306,077.0    2.4%   $11.873.0    50.3%   $1,187.3      10.0%        75         1100

                         19,0'I,       �5.632,0          19.0%           33.0%                                           2.1%   $2,426.7     4.5%    $242.67       10,0%        76         1400
 9         J\p(·Ol
           Jui02         23.2¾         $6,377.0          23.2%           40.0¾
                                                                                      S3.205.3
                                                                                      $3,892,0
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                                                                                                           578,923.0     3.9%   $2,485.0     3.7%    $248.50       10.0¾        77         1800
         Oct,OJE         22.2'/,       $7,152.0          22.2%           45.5%        $3,835.0     45.5%   S7o.998 0     2.5%   $3,317.0     3.1%    $331.70       10.0%        78         2100
10       Jan-OIE
          F2019E
                         18.4%
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                                       $28,173.0
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                                                                                                                                $12,365.7
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                                                                                                                                                     $413,70
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11         F2020E        21.3¾         S31.173.0         21.3%           34.8%        S21.307,3    34.8%   $317,618.1    0.9%   $12,865.7    4,0%    $1,286.57     10.0%        84         3100
      5(};i(I!' 81Jf /1 Mcud l 1n.h(1!ohJ! r..e1;.\c11<.hC'�tlm.w�, u:w;�m, 1qx;r1�
12
      Source: Oct 16, 2018 BOA report.
13
14                                                                      Reverse Whitewash - Coverup the Coverup
15
                       161.              In Mid-Dec 2018, Huynh emailed Gregory B. Penner, Chairman of Walmart's
16
17   Board of Directors, Mr. Timothy B. Flynn, Chairman of Walmart's Board of Audit and Rob

18   Walton, former Chairman of Walmart's Board of Director, Doug McMillon, Brett Biggs,
19   Marc Lore, and Rachel Brand to put them on notice that Huynh believes that Walmart's sen­
20
     ior executives may have engaged in fraud against shareholders. Huynh also stated that he be­
21
     lieves that Walmart's may have fabricated Beal's 11/30/16 email and Marketplace RIF list to
22
     assert Walmart's false affirmative defense. See DC Dkt. 83.
23
24
                       162.              The very next day Rachel Brand, EVP of Global Governance, Chief Legal Of­
25
     ficer and Corporate Secretary, sent a memo am1ouncing the departure of Jay Jorgensen, EVP
26
     of Global Ethics and Compliance. Subsequently, starting in early 2019, it is more likely than
27
28
                                                                              102
                                                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1   not thatWalmart's Board of Directors ordered the RICO Defendants to reverse their white-
 2   washing campaign to covernp theWSF Coverup Enterprise's original whitewashing cam­
 3
     paign.
 4
 5            163.      Starting in early 2019 to the present, the RICO Defendants began to reverse the
 6   definition ofWalmart Marketplace back to its original meaning i.e.,Walmart's Marketplace is
 7
     a segment ofWalmait.com. Additionally,Walmait's senior executives once against em­
 8
     braced their original asse1tions that Marketplace is fast growing and improves the margin mix
 9
     ofWalmait's Ecommerce business.
10
11
              164.     First,Walmart once again used the tenn "Marketplace" and "Third Party/3P"
12
     interchangeably (same as they did prior to May 2017). The syntax analysis chart below
13
     showed that after Dec 2018,Walmart used the term "Marketplace and the term Third­
14
     Party/3P interchangeably 78 times to describeWalmart's Marketplace business. The term
15
16   "Marketplace" was used 66 times or 85% of the time and the term "Third-Party/3P" were

17   used 12 times or 15% of the time.
18                             Syntax Analysis for the Terms "Marketplace"

       100%
                           38Times                                             28Times                                      7STlmes
19                                                                                               • Rcvcr�t?cl               lZ Times
        90%                                                                                        Marketplace to its         15%
                               13 Times
                                                                                                   origlnof meaning. 1------1
20      80%
                                34% • Rcdcfin d                                                    Mar-kctpface ls. a
                                      "Mnrkctpl.icc" as                                            segment of
                                      "Walrnart.con-,•·.                                           Waln1.Jft .com.
21      70%
                          1------1• Used Marketplace                                             • Used
        60%                           interchanB,eably                                             ''M.(1rk.ctpl;.:,cc: .,,
22                                    \.Vlth WolmiJrt.cor,1                    28Time              interchan£t,cably
                                    • Replaced                                                     with "3P" or
        50%
                                      ''M"rkc:rr;p!�,c<:0                       100%               "Third Party"            66Tlmcs

23     40%                 25 Times
                                      with 3P/Third
                                      Party.                                                                           JI(
                                                                                                                             85%

        30%                     66%
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24                                        ....
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       20%                 '                             �"' ,,. ..,,.>s�C'
                                                   ...., 'a-       0
25                                                            ...,_"'>                              /
        10%
                                                                                 O Time .., ,,,,.
26       0%                                                                      .... 0% .....
                          February 2016                                         May 2017                            February 2019
                           to April 2017                                      to End of 2018                         to April 2021
27                   O Marketplace               0 Third-Party/Third Party/Sp as a synonym for Marketplace

28
                                                                                 103
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1           165.    Second, instead of using the te1m "Third Paiiy/3P" as an essential appositive to
 2   redefined Marketplace as Walmart.com, Robe1i Ohmes used the tenns "Third Party/3P" and
 3
     "Marketplace" inside a set of parentheses to once against assert the synonymous relations be­
4
     tween Marketplace and Third Party/3P.
 5
 6      "WMT cmTently offers ~90mn SKUs online but sees oppo1iunity for that to grow as
 7      Marketplace (3P sellers) expands, with support from WMT's recent launch of WMT
        Fulfillment Services (providing more tools and helping to make WMT.com a more at­
 8      tractive platfonn for 3P sellers)." Bank of America/Men-ill Lynch March 10, 2020 In­
 9      vestment Report.
        "WMT US owned ecommerce sales grew 74% in F l Q (vs. our 35% est. & on top of
10
        37% LY) & contributed a record 390bps to the US comp, with strong results across gro­
11      cery pickup & delivery, Walmaii.com (gen. merchandise), & Marketplace (3P)
        . . .. . . WMT is seeing increases in new buyers & repeat rates and is looking to build a sig­
12
        nificantly larger online business in profitable categories & drive the growth of Market­
13      place (3P) as aggressively as possible." Bank of America/Merrill Lynch May 19, 2020
        Investment Report.
14
        "WMT is now looking to drive the growth of its highly profitable 3P (Marketplace)
15
        business as aggressively as possible with expansion of its relatively new Walmart Ful­
16      fillment Services division". Bank of America/Menill Lynch June 10, 2020 Investment
        Report.
17
            166.    Third, building upon Ohmes' reversion back to the original definition of Mar­
18

19   ketplace i.e., Walmart's Marketplace is a segment on Walmart.com, Walmart's Senior Execu­

20   tives also began to revert back to the original definition of Marketplace in their communica­
21   tions with investors and analysts. Walmart also resumed reporting to the total number of
22
     SKUs on Walmart.com.
23
24      "We're making progress on many fronts, but we need to do more and move far, especially
        with our assortment including marketplace. I continue to challenge the team to drive a
25
        deeper, more sustainable relationship with the customer, better execute the fundamentals,
26      and improve the overall economics of the business." Doug McMillan: Q3 FY20 earnings
        call on November 14, 2019
27
28
                                              104
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 1      I would say that the continued investment in marketplace as that's accelerating faster
        than the overall first-party business, we continue to attract new sellers at this time. And
2
        then WFS is also very early, but we're seeing very encouraging signs of opening up the
 3      business to new sellers and we see that as a potentially nice growth area in the future.
        Marc Lore President & Chief Executive Officer-Walmart U.S. eCommerce, Walmart, Inc.
 4
        Walmart's Annual Investment Community Meeting 18-Feb-2020
 5
        The ass01iment on walmart.com has grown to about 80 million SKUs including mar­
 6      ketplace has remained focused on keeping the quality of items high. And as a result, the
        Marketplace business has grown by 2.5 times since FY 2017. However, this is an area, as
 7
        Doug mentioned, where we still have a lot more work to do. Marc Lore Walmart's Annual
 8      Meeting with the Investment Community Meeting on 1 8-Feb-2020
9       Question: So, Doug, I think in your comments in the third quarter, you mentioned doing
        more with the Marketplace or 3P business. Can you - how is that in the fourth quaiier
10
        and what are you guys seeing in 3P? Walmaii's Annual Investment Community Meeting
11      18-Feb-2020
12      Answer: Yeah, it was good. But we don't think that we've done everything we must do
13      and should do to support marketplace sellers in terms of the tools and services that we
        have available. I mean, we've grown a Marketplace business over the last few years to a
14      pretty good size, and it's helped us a lot with the assortment and being top of mind for cus­
15      tomers as they're looking for items. McMillan. Walmaii's Annual Investment Community
        Meeting 1 8-Feb-2020
16
        Walmart.com also saw a surge in demand during the quarter as customers opted for
17      greater convenience and increased social distancing. The U.S. eCommerce business grew
18      74% in total. Growth in marketplace outpaced the overall business even as first-party
        sales were strong. Douglas McMillan President, Chief Executive Officer & Director,
19      Walmart, Inc. Q 1 2021 Earnings Call 1 9-May-2020
20
            167.   Fourth, instead of denying that Marketplace is not necessarily profitable and
21
     not a key growth driver for Walmart's Ecommerce, McMillan, Biggs, Lore, and other
22
     Walmart's executives reverted back to their original assertion that Walmaii's Marketplace is
23

24   highly profitable and fast growing.

25
        "We've talked - you've heard us talk a lot over the last couple of years about the ecosys­
26      tem, and we have a pretty healthy ecosystem today. We're growing things like ad revenue.
        We're growing our Marketplace business, both of which we think long-term will be a
27      big part of our ecosystem . . . . .. Marketplace is going to be a big part of our business. I
28      mean, if we're sitting here three years from now, I think we're going to be talking about a
                                                          105
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 1      much bigger Marketplace business than we have today" Brett M. Biggs Chief Financial
        Officer & Executive Vice President, Walmart, Inc. Raymond James Institutional Investors
 2
        Conference on 04-Mar-2020
 3
        "Walmart.com also saw a surge in demand during the quarter as customers opted for
 4      greater convenience and increased social distancing. The U.S. eCommerce business grew
        74% in total. Growth in marketplace outpaced the overall business even as first-party
5
        sales were strong." Douglas McMillan President, Chief Executive Officer & Director,
 6      Walmart, Inc. Q l 2021 Earnings Call 19-May-2020

 7      "I would say that the continued investment in marketplace as that's accelerating faster
 8      than the overall first-party business, we continue to attract new sellers at this time. And
        then WFS is also very early, but we're seeing very encouraging signs of opening up the
 9      busi-ness to new sellers and we see that as a potentially nice growth area in the future."
        Marc Lore - Walmart, Inc. Q l 2021 Earnings Call 19-May-2020
10
11      "Now, let's discuss the quarterly results for each operating segment. Walmaii US had a
        strong quarter. Comp sales, excluding fuel, increased 9.3%, with eCommerce sales growth
12      of 97%. eCommerce sales were strong throughout the quarter contributing approximately
13      two-thirds of the segment comp growth. We saw significant increases in repeat rates and
        weekly active digital customers, and we continue to make progress on assortment expan­
14      sion and seller tools with eCommerce Marketplace sales growing triple digits. Gross
15      profit rate was strong, up 42 basis points due to increased sales in higher-margin general
        merchandise categories and fewer markdowns. We also saw improvements in eCommerce
16      margin rates, reflecting continued progress on product mix and faster growth in mar­
17      ketplace sales. Douglas McMillan President, Chief Executive Officer & Director,
        Walmart, Inc. Q2 2021 Earnings Call 18-Aug-2020
18
        "Our Marketplace business has been strong, which is also an accretive category in
19
        relation to the rest of the business." John R. Furner President & Chief Executive Of­
20      ficer-Walmart US, Walmart, Inc. Q2 202 1 Earnings Call on 1 8-Aug-2020
21      "Walmart.com traffic has been robust with solid increases in repeat rates and good mo­
22      men-h1m in marketplace sales which grew in triple-digits. Gross profit rate was strong,
        up 33 basis points, due primarily to strategic sourcing initiatives and fewer markdowns.
23      We continue to make progress on eCommerce margin rates as we drive faster growth of
24      marketplace sales and improve product mix." Brett M. Biggs Chief Financial Officer &
        Executive Vice President, Walmart, Inc. Q3 2021 Earnings Call onl 7-Nov-2020
25
        "Your second question was on eCommerce margin specifically, and Michael, those results
26
        are a reflection of mostly mix as we described, our home business has been solid online,
27      our apparel has led, and then the overall winner in the eCommerce business was our
        marketplace business, which led the marketplace - or led the eCommerce comps in
28
                                             1 06
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 1           total to 79% for the quarter." John R. Furner President & Chief Executive Officer­
             Walmart U.S., Walmart, Inc. Q3 2021 Earnings Call 17-Nov-2020
 2
 3           "We'll continue improving margin mix through an enhanced general merchandise offer­
             ing, new brands and marketplace growth with a greater push towards expanding ful­
 4           fillment and other services for sellers. We'll drive existing and new customer growth
 5           through initiatives like Walmart+. We'll grow sales and profit increasingly with growing
             higher margin businesses in adve1tising, financial services, marketplace, healthcare ser­
 6           vices and the like." Brett M. Biggs Chief Financial Officer & Executive Vice President,
 7           Walmart, Inc. Annual Meeting with the Investment Community on 18-Feb-2021

 8                168.   Fifth, after two quarter of hiatus, Walmart's Senior Executives resumed report­
 9   ing the total number of SK.Us on Walmart.com.
10
11           90                                                       SEC lnv.estigation
12                                                                           I
                                                                                                       80       80
             80

                                                                            +
13
                                                                                 p-75            75
14
             70
                                                                                         Reported SKU # again
15                                                                        Stopped
                                                                          repolting
16    _ 60

      ··--
      C:
                                                                           SKU #
17     0

18    � so                    Switch back to
                              Walmart.com
19
      � 40
20    V,
       0              Switch to
21    :ti: 30                                                                         Reverse Whitewashing
                     Marketplace
22
                       SKUs                23                                         -� ,,,.
                                    20
             20
                                                                          Huynh emailed to
23                                                                         Walmart' BOD

24                       10
             10     8
25
                                                                                  Dec
                                                ·: Apr .
26            0
                                                                                  2018
                                               ·2 017
27                  Q4 Ql 02 Oct Q3 Q4 Ql Q2 Q3 Q4 Ql l12 Q3 Q4 Ql Q2 Q4 Q4
                   FY16 FY17 FY17 2016 FY17 FY17 FY18 FY18 FY18 FY18 FY19 FY19 FY19 FY19 FY20 FY20 FY20 FY21
28
                                                     107
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 1
                      Rubber Meets the Road - Walmart's "Get Out of Jail Free" Card
 2
 3          169.      In late June 2019, the Rescue Squad produced the "Non-Enforcement" Letter

 4   that James. E. Etri, Assistant Regional Director, Division of Enforcement sent to Walmart's

 5   Counsel, Kenneth Herzinger (the Law Firm of Orrick, Herrington & Sutcliffe. LP) on April 2,
 6   2019. See DC Dlct. 119-21 - Walmart's Exhibit 129.
 7
                Case 3: 18-cv-01631-VC Document 119-21 Filed 08/29/19 Page 2 of 2
 8
                                                        UNITED STATES
                                    SECURITIES AND EXCHANGE COMMISS ION
 9                                             FORT WORTH REGIONAL OFFICE                                    IN RE. P L VINO
                                                BURNETT PLAZA. SU ITE 1 900                                 PLE,\S QUOTE
                                                                                                               FW-04 191
10
                                              00 1 CHERRY STREET. UNIT /1 1 9
                                             FORT WORTH. TEXAS 76102-6882
                                       PliONE: (8 1 7 ) 978-.'l8:21 F'AX: (ll1 7) 1171!-?700
11
12                                                      April 2, 20 1 9

13      VIA UPS

14      Waim art Inc.
        c/o Kenneth Her.ziJ1ger
15      Orrick, Herrington & Sutcliffe, LP
        TI1e Orrick Building
16      405 Howard Street.
        San Francisco, CA 94 105-2669
17
                Re:     lrt tile Mutter of W"lmart E-commerce; Filo No. FW-04 l 93
18
        Dear Mr. Her;linger:
19
                   We have concluded the investigation in the above-referenced matter. Based on the
20      infonnation we have as of this date, we do not intend to recommend an enforcement action by
        the Commis:.ion against W(llmart Inc. in connection with this matter. We are providing this
21      notice under the guidelines set out in the financial paragraph of the Securities Act Release No.
        53 1 0, whkh states in part that the notice "must in no way be construed as indicating that the
22      party has been exonerated or that no acti.o n may ultimately result from the stafrs investigation"



                                                                                               � -- -
        (the fi.tll te;,;.t of Relea�e No. 3 1 0 can be fou11d at: htt s://www.sec, 1ov/divisio11slenforcc/wells-
23      release. t).                                                                       /

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25                                                                &,
26
27
                                                            /jj J�e;·(. .Etri
                                                         / .'         Assfstant Regional Director
                                                                      Division of Enforcement
28                                                       ( /
                                               108
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1            170.     However, to obtain this "Get Out of Jail Free" card required herculean efforts
2    and tight coordination among the RICO Defendants. As an example, in 2010, GDC's lawyers
3
     used the wire and mail extensively to exchange infonnation, coordinate the development of
4
     documents and presentation materials, as well as coaching witnesses for interviews with the
5
     SEC and the DOJ to obtain non-enforcement letters from the SEC and the DOJ for Joseph
6
7    Cassano, a fotmer AIG executive.

 8
        •      Over the course of nearly a year, they made several detailed presentations to the
 9             government, explaining Cassano's actions and pointing out holes in the govern­
               ment's case. They reviewed documents, e-mails, and spreadsheets that, they as­
10             serted, showed that Cassano promptly and thoroughly disclosed his group 's activi­
11             ties to management and auditors. The lawyers' final series of presentations in the
               fall of 2009 lasted more than 40 hours, spread over five days and entailed more
12             than 600 pages of presentations and 400 exhibits. And they agreed to let Justice
               and the SEC interview Cassano in April 201 0. "We ultimately bared our factual
13             soul to them," says Walden.
14      •      The strategy paid off. Justice informed Gibson Dunn in May 2010 that it was clos­
               ing its investigation of Cassano, and a month later, the SEC followed, a remarkable
15             turnround that a former prosecutor says was in good part due to the defense law­
               yers' tactics. "The judgment that they made to engage with us in an honest and
16             forthcoming way was unique and important to [their] success," says Paul Pelletier,
17             the former deputy chief of the Justice Department criminal division's fraud section,
               who joined Mintz, Levin, Cohn, Ferris, Glovsky and Popeo last May.
18
             17 1 .   Likewise, in a recent article published by Pro Publica, Jesse Eisinger (a re-
19
20   potier at Pro Publica) outlined the effort it took Walmart's lawyers to persuade the DOJ not to

21   prosecute Walmart criminally over the Opioid Matter.
22
        https ://www .propublica. org/article/walmart-was-almost-charged-criminally-over-opioids­
23
        trump-appointees-killed-the-indictment
24
        Karen P. Hewitt, from Jones Day, drafted a 30-page and 23 letter then emailed them to the
25      DOJ on Aug 1 0, 201 8 and Sept 27, 2019 to persuade the DOJ not to prosecute Walmart.
        •    https://s3.documentcloud.org/documents/6818268/Letter-Frorn-K-Hewitt-to-B-Bencz­
26           kowski-Aug- 1 0.pdf
27       •   https://s3.documentcloud.org/docurnents/6818266/20 1 9-09-27-Letter-From-K-Hewitt­
             to-G-Eyler-Final.pdf
28
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                               COMPLAINT - DEMAND FOR JURY TRIAL
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 1
                                                JONES DAY                                                      .CGti!\ l!X£CUTNt Olir/£ • $.Ml:: tr.00 • �-AN ():EGO. CAUl'Oll\/lA 9212:Lil 3-t
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 3
                                                                                                                                       September 27, 201 9
 4
                                                  August I 0, 2018                           FOIA CONFIDENTIAL TREATMENT REQUESTED llY JONES DAY
 5
                                                                                             VIA ELECTRONIC MAIL
 6    FOIA CONFID.ENTIAL TREATMENT RF.QUESTED llY JONES DAY
                                                                                             Gustav \V. llylcr
 7    VIA ELECTRONIC 1\WL
                                                                                             Dir�ctor
       Hon. Brinn Benczkowski                                                                Consumer Protection Branch
 8     Assistnnt Attorney Gcnernl, Criminal Division                                         U.S. Department ofJIBticc
       U.S. Department of Justice                                                            950 Pcmisylvania Avenue, NW
 9     950 Pennsylvania Avenue, NW                                                           Washington, D.C. 20530-000 I
       \Vnsltlngton, D.C. 20530-0001                                                         Gustnv.W.Eyler@usdoj.gov
10
                                    Re:        \Vnlmnrt Inc.                                               Re: Wnlmnrt Inc.
11
      Dear Assistant Attorney General Bcnczkowski:                                           Dear Mr, Eyler:
12
13                  172.            Even though Huynh doesn't possess direct evidence of mail and wire commu­
14
      nications among Kenneth Herzinger from the Law Firm of On-ick, Henington & Sutcliffe, the
15
      Rescue Squad, the Walma1i Paiiicipants, and the other RICO Defendant to effectuate prong
16
      #2 of the illegal coverup scheme, Huynh strongly believes the RICO Defendants have in their
17

18    possession hundreds of instances of mail and wire usages among themselves as well with the

19    SEC and/or the DOJ. This info1mation be discoverable during discovery.

20
                    173 .           Thus, upon infonnation and believe, RICO Defendants i.e. , the Law Firm of
21
22    On-ick, Henington & Sutcliffe and Kenneth Herzinger committed much more than the two

23    predicate acts required under 18 U.S.C. 1962(c) (e.g. , mail and wire frauds and obstruction of

24    an SEC investigation etc.) to effectuate Goal A of the WSF Coverup Enterprise's illegal cov­
25    erup scheme.
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                                                                            110
                                                            COMPLAINT - DEMAND FOR JURY TRIAL
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1                           Forum Selection for Shareholder Derivative Lawsuits
 2
         Walmart's Board of Directors Amended Walmart's Bylaw to M ove the Foru m for Shareholder
 3       De rivative Law Suits from Federa l Cou rt to the Court of Chancery of the State of Delaware

 4                                                                              Walmart Inc filed a 8K form with the
                  Huynh's response to Walmart's motion to quash.
                  DC Dkt. 83. Huynh filed his 1 2/13/1 8 letter and             SEC on Friday 7/26/1 9 after the Market
 5                PPT presentation to put them on notices that                  closed to effectuate the forum changes.
                  Walmart's senior executives my have defrauded                 However, Walmart didn't issue any
 6                shareholders to the tune of $ 1 40 Bil.                       press release regarding this changes


 7

 8                6/24/19            7./7/19                       7/23/19                   7/26/19

 9
10     Wal mart filed motion to quash          Walmart's Board Director voted and approved an
       Huynh's Subpoenas of Wal mart's         amendment to Walmart'sby Law to move the forum
11     Marketplace Sellers. DC Dk!. 80.        for shareholder derivative lawsuit from Federal Court
                                               to Court of Chancery of the State of Delaware

12
13            174.     On June 24, 2019, the Rescue Squad filed a motion to quash Huynh's subpoe-
14
      nas of Walmart's Marketplace Sellers (DC Dkt. 80). Huynh filed a response on July 7, 2019.
15
      In Huynh's response, he filed DC Dkt. 83-2 (Exhibit A) which are the letter and PowerPoint
16
      presentation that Huynh emailed to Walmart's Board of Director on Dec 13 , 2018 to put them
17

18    on notice that Walmart's senior executives may have defrauded shareholders to the tune of

19    $140 Billion. A short time later, Walmart's Board of Directors voted unanimously to approve

20    the change Walmart's Bylaw to move the forum for derivative shareholder Lawsuit from Fed­
21    eral Court (Plaintiffs friendly) to Comi of Chancery of the State of Delaware (Defendants'
22
      friendly). See DC Dkt. 102, 102-2 & 3 ; See COA Dkt. 5-4 at 110 to 123.
23

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 1                                     Lore's $100 Million Exit Package
2
             175.      Walmart announced Marc Lore's departure on January 15, 2021, roughly 8
 3
4     months before his employment contract was to expire. 30 When he first joints Walmart as

5     Walmart US Ecommerce CEO as part of the Jet.com acquisition, Walmart Inc's Board of Di­

 6    rectors granted Lore roughly 3.6 million of Walmart's RSU to be vested over 5 years. In gen­
 7
      eral, Corporations used RSU as a tool to retain their senior executives i.e., if an executives
8
      leave before their employment contract expired, they would lose their unvested shares.
9
10           176.      In Lore's case, he left Walmart about 8 months before his contract expired.
11    Lore had roughly seven hundred eleven thousand shares of unvested RSU. However, it was
12
      unusual for Walmart' Board of Directors to allow Lore to keep these RSU shares. In short,
13
      Walmart's Board of Directors approved Lore's $100 Mil exit package.
14
                                           # of Sh a res G ra nted              G ra n t D ate
15
                                                   3 , 5 54 , 0 9 3              9/ 1 9/ 2 0 1 6

16               Ves t i n g D a t e                 Pe rce n t             # o f S h a re V e s t e d

17                  9/ 1 9 / 2 0 1 7
                    9/ 1 9 / 2 0 1 8
                                                       10%
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                                                                                  3 5 5,409
                                                                                  5 3 3 , 1 14
                    9/ 1 9 / 2 0 1 9                   20%                        7 1 2, 240
18                  9/ 1 9/2020                        25%                        887, 102
                    10/19/2020                         2.5%                        88,852
19                  1 1/ 19/2020                       2 . 5%                      88,852
                    1 2 / 19/2020                      2 . 5%                      88,852
20                  1 / 1 9/ 2 0 2 1                   2 . 5%                      88, 8 5 2
                    2/ 1 9/20 2 1                      2 . 5%                      88,852
21                  3/ 19/20 2 1                       2 . 5%                      88, 8 5 2
                    4/ 1 9 / 20 2 1                    2 . 5%                      88,852

22                  S / 1 9/ 20 2 1
                    6/ 1 9/ 202 1
                                                       2 . 5%
                                                       2 . 5%
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                    7/ 1 9/ 202 1                      2.5%                        88, 8 5 2
                    8/19/20 2 1                        2 . 5%                      88,852
                    9/ 1 9/20 2 1                      2 . 5%                      88,852
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                        Tota l                       100 . 0%                          3 , 5 54,093

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26                   E st i m a t e d $ Va l u e of s h a re s k e p t      $

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      30 https://fortune.corn/2021/01 / 15/marc-lore-leaving-walmart-ecommerce/
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                                                 112
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1            177.    Although, Huynh currently doesn't have direct evidence to prove that Greg
 2    Pem1er, Timothy Flynn, and S. Rob Walton paiticipated in the management of the WSF En­
 3
      terprise's illegal covernp scheme. Huynh's believes this infmmation is in the RICO Defend­
 4
      ants' possession and is discoverable during discover.
 5
 6           178.    However, upon information and belief, the circumstantial evidence discussed
 7
      above demonstrated it is more likely than not that three Walmait Board of Directors named
8
      above knew about the conducts of the other RICO Defendants and they either participated
 9
      and/or failed to take corrective actions to stop the illegal conducts of the WSF Covernp Enter­
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11    prise which caused injuries to Huynh properties.

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 1         Truth Is the Cornerstone of Our Adversary System of Civil Litigation.
 2         "The purpose of a lawsuit is to arrive at the tr·uth of the controversy, in order that justice
 3         may be done. 31 It is one of the "decencies of civilization that no one would dispute." 32

 4             179.    The American Judiciaiy employed the adversary system to resolve litigation

 5    disputes in Federal Courts. This system is based on the pragmatic assumption that the truth
 6    of the controversy between the parties to a lawsuit stands a reasonably fairer chance of com­
 7
      ing out when each side fights as hard as it can to see to it that all the evidence most favorable
8
      to it and every rule of law supporting its theory of the case are before the comi. The system
9
      relies on the "unshakable foundation that truth is the object of the system's process which is
10
11    designed for the purpose of dispensing justice. " 33 However, because no one has an exclusive

12    insight into truth, the process depends on the adversarial presentation of evidence, precedent
13
      and custom, and argument to reasoned conclusions - all directed with unwavering effort to
14
      what, in good faith, is believed to be true on matters material to the disposition. Even the
15
      slightest acco1mnodation of deceit or a lack of candor in any material respect quickly erodes
16
      the validity of the process. As soon as the process falters in that respect, the people are then
17
18   justified in abandoning support for the system in favor of one where honesty is preeminent.

19    Therefore, our justice system crumbles should those (judicial officers e.g., lawyers and
20   judges), in whose hands are entrusted its preservation and sanctity, betray its fundamental val­
21
      ues and principles. There are two guardrails that were designed and implemented to protect
22
      the sanctity of our judicial process and equal justice under the law. The first guardrail is the
23
24

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      31
         Edward F. Barrett, The Adversary System and the Ethics of Advocacy,
      37 NOTRE DAME L. REV. 479, 479+ (1962) (quoting DWIGHT G. MCCARTY, PSY­
26    CHOLOGY & THE LAW 223 (1960)).
      32
         Barrett, supra note 1, at 479 (quoting Mich. Trust Co. v. Feny, 228
27
      U.S. 346, 353 (1913)).
28    . U.S. v. Shaffer Equip. Co., 11 F.3d 450, 457 (4th Cir. 1993).
      33

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                               COMPLAINT - DEMAND FOR JURY TRIAL
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 1    rules of conduct for lawyers, and the second guardrail is the Federal Rules of Civil Proce­
2     dures.
 3
4              The California Rules of Professional Conducts and State Bar of California Acts
               Serve as Guardrails to Protect the Sanctity of Our Adversary System of Justice.
 5
               180.   The California's Rules of Professional Code of Conducts and State Bar Acts of
 6
 7    California are guardrails which protect the integrity and sanctity of the adversary system of

8    j ustice for civil litigation and adjudication from unscrupulous lawyers who acted nefariously
9     to corrupt the "truth finding" process in a lawsuit to secure a favorable outcome for their cli­
10
      ents and themselves.
11
12
          Cal. Rule of Professional Conduct 3.4 Fairness to Opposing Party and Counsel:
13       A lawyer shall not: (a) unlawfully obstruct another paity's access to evidence, includ­
14       ing a witness, or unlawfully alter, destroy or conceal a document or other material hav­
         ing potential evidentiary value. A lawyer shall not counsel or assist another person to
15       do any such act; (b) suppress any evidence that the lawyer or the lawyer' s client has a
16       legal obligation to reveal or to produce; (c) falsify evidence, counsel or assist a witness
         to testify falsely, or offer an inducement to a witness that is prohibited by law.
17
          • Paragraph (a) applies to evidentiary material generally, including computerized in­
18          formation. It is a criminal offense to destroy material for purpose of impairing its
19          availability in a pend-ing proceeding or one whose commencement can be foreseen.
            (See, e.g., Pen. Code, § 135; 18 U.S.C. § § 1501-1520.) Falsifying evidence is also
20          generally a criminal offense. (See, e.g., Pen. Code, § 132; 18 U.S.C. § 1519.) Ap­
21          plicable law may permit a lawyer to take temporary possession of physical evidence
            of client crimes for the purpose of conducting a limited ex-amination that will not
22          alter or destroy material characteristics of the evidence. Applicable law may require
23          a lawyer to tum evidence over to the police or other prosecuting authorities, de­
            pending on the circumstances. (See People v. Lee (1970) 3 Cal.App.3d 514, 526
24          [83 Cal.Rptr. 715]; People v. Meredith (1981) 29 Cal.3d 682 [175 Cal.Rptr. 612] .)
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                                              115
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1        Cal. Rule of Professional Conduct 4.1 . Truthfulness in Statements to Others
 2       In the course of representing a client a lawyer shall not knowingly: (a) make a false
 3       statement of material fact or law to a third person; or (b) fail to disclose a material fact
         to a third person when disclosure is necessary to avoid assisting a criminal or fraudulent
 4       act by a client.
 5
         • A lawyer is required to be truthful when dealing with others on a client's behalf, but
 6         generally has no affirmative duty to infonn an opposing party of relevant facts. A
 7         misrepresentation can occur if the lawyer incorporates or affirms the truth of a state­
           ment of another person* that the lawyer knows* is false. However, in drafting an
 8         agreement or other document on be-half of a client, a lawyer does not necessarily
 9         affirm or vouch for the truthfulness of representations made by the client in the
           agreement or document. A nondisclosure can be the equivalent of a false statement
10         of material fact or law under paragraph (a) where a lawyer makes a partially true but
11         misleading material statement or material omission. In addition to this rule, lawyers
           remain bound by Business and Professions Code section 6106 and rule 8.4
12
         • Under rule 1.2.1, a lawyer is prohibited from counseling or assisting a client in con­
13         duct that the lawyer knows* is criminal or fraudulent. * See rule 1.4(a)(4) regarding
14         a lawyer's obligation to consult with the client about limitations on the lawyer's
           conduct. In some circum-stances, a lawyer can avoid assisting a client's crime or
15         fraud* by withdrawing from the representation in compliance with rule 1.16.
16
17       Rule 8.4 Misconduct It is professional misconduct for a lawyer to:

18       a) violate these rules or the State Bar Act, knowingly* assist, solicit, or induce another
         to do so, or do so through the acts of another; (b) commit a criminal act that reflects
19       adversely on the lawyer's honesty, trustworthiness, or fitness as a lawyer in other re­
20       spects; (c) engage in conduct involving dishonesty, fraud,* deceit, or reckless or inten­
         tional misrepresentation34 ; (d) engage in conduct that is prejudicial to the administra­
21
         tion of justice; (e) state or imply an ability to influence improperly a government
22       agency or official, or to achieve results by means that violate these rules, the State Bar
         Act, or other law; or (f) knowingly* assist, solicit, or induce a judge or judicial officer
23
         in conduct that is a violation of an applicable code ofjudicial ethics or code ofjudicial
24       conduct, or other law. For purposes of this rule, "judge" and "judicial officer" have the
         same meaning as in rule 3.5(c).
25
26
      34 A lawyer may be disciplined under Business and Professions Code section 6106 for acts in­
27
      volving moral turpitude, dishonesty, or corruption, whether intentional, reckless, or grossly
28    negligent.
                                                       116
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 1       Cal. Bus. & Prof. Code § 6068(d)
2        Prohibits a lawyer from misleading a judge or any judicial officer by making a false
         statement of fact or law. "California law imposes a duty of candor on all attorneys. "
3
         Applied Materials, Inc. v . Multimetrixs, LLC, 2008 WL 2892453, at *10 (N.D. Cal.
 4       Jul. 22, 2008). "Counsel should not forget that they are officers of the court, and while
         it is their duty to protect and defend the interests of their clients, the obligation is
 5
         equally imperative to aid the court in avoiding e1rnr and in determining the cause in
 6       accordance with j ustice and the established rules of practice. " Datig v. Dove Books,
         Inc., 73 Cal.App.4th 964, 980 (Ct. App. 1 999); see also MmTow v. Superior Court, 30
 7       Cal.App.4th 1 252, 126162 (Ct. App. 1994) (stating that the purpose of § 6068 and sim­
 8       ilar statues is to preserve the sanctity of the _j ustice system).

 9       Rule 3.3 Candor Toward the Tribunal*
10       (a) A lawyer shall not: ( 1 ) knowingly* make a false statement of fact or law to a tribu­
11       nal* or fail to co1Tect a false statement of material fact or law previously made to the
         tribunal* by the lawyer; (2) fail to disclose to the tribunal* legal authority in the con­
12       trolling jurisdiction known* to the lawyer to be directly adverse to the position of the
13       client and not disclosed by opposing counsel, or knowingly* misquote to a tribunal*
         the language of a book, statute, decision or other authority; or (3) offer evidence that
14       the lawyer knows* to be false. If a lawyer, the lawyer's client, or a witness called by
15       the lawyer, has offered material evidence, and the lawyer comes to know* of its falsity,
         the lawyer shall take reasonable* remedial measures, including, if necessary, disclosure
16       to the tribunal, * unless disclosure is prohibited by Business and Professions Code sec­
17       tion 6068, subdivision (e) and rule 1 .6. A lawyer may refuse to offer evidence, other
         than the testimony of a defendant in a criminal matter, that the lawyer reasonably be­
18       lieves* is false. (b) A lawyer who represents a client in a proceeding before a tribunal*
19       and who knows* that a person* intends to engage, is engaging or has engaged in crim­
         inal or fraudulent* conduct related to the proceeding shall take reasonable* remedial
20       measures to the extent pennitted by Business and Professions Code section 6068, sub­
21       division (e) and rule 1.6. (c) The duties stated in paragraphs (a) and (b) continue to the
         conclusion of the proceeding. (d) In an ex parte proceeding where notice to the oppos­
22       ing party in the proceeding is not required or given and the opposing party is not pre­
23       sent, a lawyer shall inform the tribunal* of all material facts known* to the lawyer that
         will enable the tribunal* to make an infonned decision, whether or not the facts are
24       averse to the position of the client.
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 1       Rule 1.6 Confidential Information of a Client (a):
 2       A lawyer shall not reveal information protected from disclosure by Business and Profes­
         sions Code section 6068, subdivision (e)( 1) unless the client gives infonned consent, * or
 3
         the disclosure is permitted by paragraph (b) of this rule.
 4       •   [2] Paragraph (a) relates to a lawyer's obligations under Business and Professions
 5           Code sec-tion 6068, subdivision (e)( l ), which provides it is a duty of a lawyer: "To
             maintain inviolate the confidence, and at every peril to himself or herself to preserve
 6           the secrets, of his or her client." A lawyer's duty to preserve the confidentiality of cli­
             ent infonnation involves public policies of paramount impo1iance. (In Re Jordan
 7           ( 1 974) 12 Cal.3d 575, 580 [ 1 1 6 Cal.Rptr. 371 ] .) Preserving the confidentiality of cli­
             ent information contributes to the trust that is the hallmark of the lawyer-client rela­
 8
             tionship. The client is thereby encouraged to seek legal as-sistance and to communi­
 9           cate fully and frankly with the lawyer even as to embarrassing or detrimental subjects.
             The lawyer needs this information to represent the client effectively and, if necessaiy,
10           to advise the client to refrain from wrongful conduct. Almost without ex-ception, cli­
             ents come to lawyers in order to determine their rights and what is, in the com-plex of
11           laws and regulations, deemed to be legal and correct. Based upon experience, law-yers
             know* that almost all clients follow the advice given, and the law is upheld. Paragraph
12
             (a) thus recognizes a fundamental principle in the lawyer-client relationship, that, in
13           the ab-sence of the client's informed consent, * a lawyer must not reveal information
             protected by Business and Professions Code section 6068, subdivision (e)( l). (See,
14           e.g., Commercial Standard Title Co. v. Superior Court (1979) 92 Cal.App.3d 934, 945
             [ 1 55 Cal.Rptr.393].)
15
16
17                         We Are Going to "Nuts & Sluts" You with Impunity

18
             18 1.   In early November 201 7, Huynh told deRubertis that his SOX retaliation
19
      case against Walmart was open and shut based on the documentary evidences and legal
20
      analyses Huynh provided to deRubertis. These documents and legal analyses proved
21
22    with little doubt that Walmart was liable for Huynh's termination in violation of SOX and

23    Wrongful te1mination in violation of public policy. deRubertis leaked this infmmation to

24    the other RICO Defendants then acted in concert with them to engage in evidence fabri­
25
      cation, destruction, mutilation, concealment, and committed pe1jury to prevent Huynh
26
      from defending his SOX claim against Walmart's chronologically impossible Defense.
27
28
                                               118
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 1                     182.                The chart below showed Huynh engaged in three waves of protected activ­
2     ities prior to his te1mination. The first wave occurred on Oct 4, 2016, the second wave
 3
      occmTed on Dec 1, 2016 (Seth Beal threatened to put Huynh's on a PIP) and the third
 4
      wave occuned on Dec 20, 2016 and Jan 4, 2017. After each wave of protected activity
 5
      Seth Beal and Walmart immediately retaliated against Huynh. Walmart eventually te1mi­
 6
 7    nated Huynh's employment under the cloak of a RIF 14 days before the actual RIF.

 8    Walmart's purp01ted reasons for Huynh's tennination were due to role elimination was

 9    bogus because evidence in the record showed that Huynh's Business Development team
10
      was moved under Michael Trembley a few hours after Beal tenninated Huynh's employ-
11
      ment on Jan 10, 2017.
12
           Huynh's SOX Against Walmart Was Open and S hut Based on Documentary Evidence
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        Huyn h raised the e xce ss ive                                                                                                                                                                                                                              '
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19     to investigate against Huynh                                                               ·                 :   :
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27    Walmart's Jan 24, 201 7 RIF                                                              :f             :t              :f           :I           :!              :                    :
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 1                      Shotgun Pleaded Five ADHD FEHA Claims - Abuse of Process
2
              183.   However, two weeks later during Huynh's in person meeting in deRubertis'
3
4     office, deRubertis demanded that Huynh allowed him to place Huynh's ADHD infliction at

5     the center of Huynh's lawsuit against Walmart in addition to Huynh's SOX claim. Huynh told

6     deRubertis that he disagreed with deRube1tis' proposal for three main reasons. First, Huynh
7
      believes his SOX whistleblower retaliation case against Walmart was open and shut. Second,
8
      there is a strong social/public stigma associated with people who suffered from mental disor­
9
      ders like ADHD which would impact Huynh's personal reputation and future employment
10
      prospects. Third, there was no financial upside to add this extraneous claim. deRube1tis be­
11
12    came visibly angry and hostile toward Huynh. deRubertis chastised Huynh by saying "Why

13    would a whistleblower care about his reputation anyway?". Legal strategies are mine not
14    yours. Your job is to collect the case facts and gave them to me". deRubertis later repeatedly
15
      told Huynh this misleading assertion35 that as a client Huynh didn't have a saying in the
16
      case's legal strategies. By late December 2017, deRubertis kept delaying filing Huynh's com­
17
18    plaint Federal Court. Huynh mistakenly believed that the reason deRubertis repeatedly delay-

19
20

21
      35
         David deRubertis' statement contradicted with California Rules of Profession Conduct 1.2
22
      regarding Scope of Representation and Allocation of Authority: a) Subject to rule 1.2. 1, a
23    lawyer shall abide by a client's decisions concerning the objectives of representation and, as
      required by rule 1.4, shall reasonably* consult with the client as to the means by which they
24    are to be pursued. Comment: Allocation of Authority between Client and Lawyer: [ 1] Para­
      graph (a) confers upon the client the ultimate authority to detennine the purposes to be served
25    by legal representation, within the limits imposed by law and the lawyer's professional obli­
26    gations. (See, e.g., Cal. Const. , art. I, § 16; Pen. Code, § 1018.) A lawyer retained to represent
      a client is authorized to act on behalf of the client, such as in procedural matters and in mak­
27    ing certain tactical decisions. A lawyer is not authorized merely by virtue of the lawyer's re­
      tention to impair the client's substantive rights or the client's claim itself. (Blanton v.
28    y\Tomancare, Inc. ( 1985) 3 8 Cal.3d 396, 404 [2 12 Cal.Rptr. 15 1, 156].).
                                                            120
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 1    ing filing the complaint was because Huynh didn't agree to let him put Huynh's ADHD con­
 2    dition at the center of his lawsuit. Thus, Huynh ultimately gave into deRube1tis' demand.
 3
              184.    deRubertis purpo1tedly asked Huynh in early January 20 1 8 to file an ADHD
 4
      disability discrimination complaint against Walmart with DFEH directly (instead filing it him­
 5
      self) then sought the right to sue letter on that very same day under the pretext that deRube1tis
 6
 7    was busy and needed this done so deRubertis could file the complaint against Walmart the

 8    next day. However, deRubertis' trne motive for asking Huynh to file the FERA complaint

 9    was to use it as proof that Huynh was the one who pushed deRube1tis to assert the five ADHD
10
      FEHA claims in the 3/15/ 1 8 complaint not deRubertis himself.

                      On Mar 15, 2018, David deRubertis intentionally shotgun pleaded3 6 five
11
              185.
12
13    FERA ADHD disability claims against Walmart in the Complaints (DC Dkt. 1 and 8) in addi­

14    tional to Huynh's whistleblower retaliation claims. At the time, Huynh didn't make much of

15    deRubertis' abnormal behaviors. However, Huynh now realized that the RICO Defendants in­
16    tentionally shotgun pleaded these FEHA claims for two ulterior motives which had nothing to
17
      do with Huynh's SOX whistleblower retaliation claim except to execute the RJCO Enter­
18
      prise's "Nuts & Sluts" Offense against Huynh to diminish Huynh's credibility in the eyes of
19
      the SEC, the media, Walmart's investors, politicians, and the American public to effectuate
20
21    RJCO Enterprise's coverup scheme.

22
      36
23       The key characteristic of a shotgun pleading is that it "fail[s] to one degree or another, and
      in one way or another, to give the defendants adequate notice of the claims against them and
24    the grounds upon which each claim rests," which renders them disfavored and usually subject
      to dismissal. Weiland v. Palm Beach Cty. Sheriffs Office, 792 F.3d 1313, 1323 (11 th Cir.
25    201 5). A complaint is a shotgun pleading where it has at least one of the following character­
26    istics: ( 1 ) it "contain[s] multiple counts where each count adopts the allegations of all preced­
      ing counts," (2) it is ''replete with conclusory, vague, and immaterial facts not obviously con­
27    nected to any particular cause of action," (3) it "assert[s] multiple claims against multiple de­
      fendants without specifying which of the defendants are responsible for which acts or omis­
28    sions[] or which of the defendants the claim is brought *24 against. " See id. at 1321 -23.
                                                           1 21
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 1              186.   First, the five frivolous ADHD FEHA claims allowed the RICO Defendants to
2     put Huynh's mental health and motives for engaging in protected conducts (only trnth for Em­
 3
      ployment discrimination and retaliation case not SOX case) at the center of the lawsuit so the
4
      RICO Defendants could aggressively go after Huynh's psychiatrist records, medical records,
 5
      personnel files from Huynh's employers dating back to 1987.
 6
 7              187.   Second, by asserting the FEHA Retaliation and Discrimination claims, the

 8    RICO Defendants could impose the McDonnel Douglas framework upon Huynh SOX com­

 9    plaint. This later served as a platform for District Judge Vince Chhabria and the United States
10    Comi of Appeals for the Ninth Circuit's merit panels to improperly apply the McDonnel
11
      Douglas framework to purportedly dismiss Huynh's SOX's claim against Walmart. The
12
      McDonnel Douglas framework heavily favored the RICO Defendants versus Huynh in three
13
      mam areas:
14
15         A.    The RICO Defendants argued that Huynh was a fake whistleblower (i.e., Huynh
                 didn't engage in protected activity) because he only blew the whistle for personal
16               gain to save his job.
17         B.    The RICO Defendants purportedly claimed that Huynh failed to prove causation for
18               his SOX claim by imposing a higher standard of proof on Huynh. The RICO De­
                 fendants imposed the substantial motivating factor which has a threshold require­
19               ment versus the contributing factor under SOX which had no such requirement.
                 District Judge Chhabria later used the substantial motivating factor to purportedly
20
                 prove that Huynh's failed to prove causation for his SOX claim. See DC Dkt 167 at
21               2-3 37 .
22         C.    The RICO Defendants didn't have to meet the burden of persuasion to prove by
23

24
      37
         Huynh is thus left relying entirely on the fact that the adverse action occurred a short period
25    of time (here, a few months) after the purported protected activity, which courts often find
26    sufficient to raise the inference, for purposes of a prima facie case, that there was a causal
      connection between the two. Van Asdale, 577 F.3d at 1003 ; Morgan v. Regents of University
27    of California, 88 Cal. App. 4th 52, 69 (2000). But in this case, as discussed below, the rea­
      sons for Walmart's inclusion of him in the layoffs are so strong that the short time pe­
28    riod is arguably not enough to get Huynh past this initial hurdle.
                                                         122
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 1              clear and convincing evidence that Walmart "would have" te1minated Huynh's em­
                ployment in the absent of his protected activity. Instead, the RICO Defendants j ust
2
                merely needs to meet the burden of production to overcome Huynh' s evidence of
3               pretext.
4
              188.    Even though Huynh currently doesn't possess direct evidence i.e., the who,
 5
 6    what, when, and how the RICO Defendants communicated among themselves using their

 7    common wire and mail communication infrastructure to prove Huynh's assertions above.
 8    Huynh strongly believes this information is in the RICO Defendants' possession and is dis­
9
      coverable during the discovery phase of this lawsuit. The RICO Defendants (especially, the
10
      Rescue Squad) would most likely argue that this information is not discoverable due various
11
      purported claims of privileges. However, this argument is unpersuasive because the Gibson
12
13    Dunn Lawyers made the opposite arguments in Chevron Corporation v. Danziger (1: 11-cv-

14    00691) under the crime-fraud exception case laws. See the excerpts below.

15         https :/ /storage.courtlistener.com/recap/gov. uscourts.nysd.3 7 4606 .3 56.1.pdf at 186-187.
16
           "Numerous comis have also found that the crime-fraud exception to the attorney client
17         privilege applied and thus did not shield the RICO Defendants' and their co-conspira­
           tors' pervasive fraud from discovery. The District Court for the Southern District of
18
           California, for example, reasoned that there "is ample evidence in the record that the
19         Ecuadorian Plaintiffs secretly provided information to Mr. Cabrera, who was suppos­
           edly a neutral comi-appointed expert, and colluded with Mr. Cabrera to make it look
20
           like the opinions were his own."38 That court subsequently found that the crime-fraud
21         exception applied to discovery of co-conspirator William Powers, finding that he was
22         "deeply involved [in the fraud] in that his work product was apparently adopted whole
           cloth by the allegedly neutral expe1i Cabrera."39 Similarly, the District Court of New
23
           Mexico noted that "exchanges" among the RICO Defendants "trigger the crime-fraud
24         exception, because they relate to corruption of the j udicial process, the preparation of

25
26    38
         2 Exhibit 327 (2010.09.10 Order denying Respondent E-Tech' s appeal, In re Application of
27    Chevron, No. 10-CV-1146 (IEG) (S.D. Cal.)) at 9.
      39
         Exhibit AW (2011.02.11 Order Re: Discovery Relating To Emails and Metadata, In re Ap­
28    plication of Chevron Corp., 3 :10-cv-01146-IEG-WMC (S.D. Cal.)) at 3-4.
                                                    123
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 1       fraudulent reports," and "the fabrication of evidence."40 And the Southern District of
 2       New Yode noted that "there is more than a little evidence" that the activities of the
         RICO Defendants "come within the crime-fraud exception."41
 3
         https://storage.courtlistener.com/recap/gov.uscourts.nysd.374606. 1 728.0.pdf at 1 0- 1 2.
 4
         The Crime Fraud Exception Vitiates any Available Work Product Protection
 5
         Further, Mr. Moncayo-along with his employer, Selva Viva, and the Assembly- is an
 6       active participant in the ongoing scheme to extort billions of dollars from Chevron. Any
 7       claim of protection over his documents is vitiated by the crime fraud exception. See
         United States v. Jacobs, 117 F.3d 82, 87 (2d Cir. 1997); Chevron Corp. v. Salazar, 275
 8       F.R.D. 437, 452-53 (S.D.N.Y. 2011).
 9       This Court has already found "there is more than a little evidence that Donziger's activ­
         ities . . . come within the crime-fraud exception to both the privilege and to work prod­
10
         uct protection." In re Chevron Corp., 749 F. Supp. 2d 141, 167 (S.D.N.Y. Nov. 10,
11       2010), aff'd 409 Fed. Appx. 393 (2d Cir. 201O); see also 0kt. 571 at 4-5 ("Ce1iainly
         the probable cause prong has been satisfied with respect to some subjects of inquiry."
12
         (citations omitted)); Dkt. 905 (making various crime-fraud findings in the context of
13       the Patton Boggs subpoena). The materials that Chevron seeks from Mr. Moncayo
         would likely be relevant to and in furtherance of several of the crime-fraud categories at
14
         issue and would provide further evidence of the misconduct being carried out by De­
15       fendants and their co-conspirators, including Mr. Moncayo's employer Selva Viva and
         the Assembly.
16
         To the extent ERi is seeking to shield the communications between former ERi attor­
17
         ney Marissa Vahlsing and Mr. Moncayo, his own testimony reveals probable cause to
18       find that these communications were in furtherance of a fraud or crime. According to
         Mr. Moncayo, Faj ardo and "[t]he lawyer Marissa from the team [in the U.S.]" called
19       him to assist in drafting his witness statement and asked him to get in touch with Ms.
20       Calva, another witness for Defendants, so that he may coordinate with her and share a
         copy of his witness statement. Tr. at 2099: 19-2101:7. Mr. Moncayo did as he was asked
21       and went to speak with Ms. Calva at her father's office. This not only violates this
22       Court's sequestration order (Tr. at 43 :21-44:14), it may amount to obstruction ofjustice
         and witness tampering. The coordination was presumably necessary to ensure con­
23       sistency in Mr. Moncayo's and Ms. Calva's stories regarding whether Judge Zambrano
24       actually authored the judgment-a key issue in this case. Tr. at 2099 : 11-1 3 -2101:7. Mr.

25
      40 Exhibit 328 (2010.09.13 Memorandum Opinion and Order rejecting claims of attorney cli­
26
      ent privilege and ordering production of documents, In re Chevron Corp., Nos. 1: 1 O­
27    mc00021-22 (LFG) (D.N.M.)) at 1 1
      41
         In re Application of Chevron Corp., No. 1 0 MC 00002 (LAK), 2010 WL 4910248, at *21
28    (S.D.N.Y. Nov. 10, 2010).
                                                      1 24
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1        Moncayo's testimony on this score was not credible, and the procuring of such testi­
         mony by prompting or facilitating coordination with other witnesses constitutes proba­
2
         ble cause for witness tampering and/or obstruction. Whether Ms. Vahlsing knowingly
 3       took any affirmative steps to further the crime or fraud is not dispositive, as it appears
         her assistance was sought to facilitate or conceal it. See United States v. Kerik, 531 F.
4
         Supp.2d 610, 617 (S.D.N.Y. 2008) (finding that statements would be "admissible under
 5       the crime-fraud exception, even where . . . the attorney was not a knowing participant in
         the crime or fraud in question").
 6
 7           189.    However, even without direct evidence there are at least five pieces of circum-
 8    stantial evidence that proved that it was more likely than not that the RICO Defendants acted
 9
      in concert to shotgun plead the five nefarious and frivolous ADHD FEHA claims.
10
             190.    First, it made no sense whatsoever for deRubertis to have shotgun pleaded
11
      these frivolous FEHA claims when there was overwhelming documentary evidence and legal
12
13    analyses that Huynh provided to him which proved with little doubt that Huynh's SOX whis­

14    tleblower retaliation case against Walmart was open and shut.

15           191.    Second, it was hard to image that if another Plaintiffs lawyer had shotgun
16    pleaded five frivolous FEHA claims against Walmart in a different lawsuit that the Rescue
17
      Squad would just stand idly by and did not file a motion to dismiss these claims for failure to
18
      state a claim. The only logical explanation for the Rescue Squad's inactions was because they
19
      were in cahoots with deRubertis to shotgun plead these claims in the first place.
20
21           192.    Third, it made no sense whatsoever for David deRubertis, as Huynh's lawyer,

22    to ask Huynh to file a FEHA discrimination complaint against Walmart when it was deRuber­

23    tis' job to do so not Huynh's (especially, when David deRubertis repeatedly told Huynh that
24
      legal strategies are his not Huynh's). The only logical explanation for deRubertis' atypical be­
25
      havior was because he wanted to make it appeared as if it was Huynh the one who wanted to
26
      assert these claims not the deRubertis Law Fim1 in the first instance in order to coverup the
27
      fact that deRubertis colluded with the other RICO Defendants to pull off this wicked scheme.
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                                              125
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 1             193.   Fourth, to purportedly show that deRubertis exhausted DFEH's administrative
 2    remedies before taking Huynh 's ADHD FEHA claims to Federal Comi, deRubertis and the
 3
      Rescue Squad fabricated evidence to purpo1iedly show that both deRube1iis and FEHA served
 4
     Walmart Huynh 's right to sue letter at the same time and on the same date i.e., on Mar 9,
 5
      20 18.
 6
 7             194.   Fifth, the analysis below showed that the RICO Defendants pulled out all

 8    stops (included illegal means) to go after Huynh 's psychiatrist and medical records, and per­

 9    sonnel files. There were three main examples of fraudulent means that RICO Defendants un­
10    de1iook to obtain Huynh's records: First, deRube1iis falsified Huynh 's signature to obtain
11
      Huynh's psychiatrist, medical, and employment records without Huynh 's knowledge or con­
12
      sent. Second, the Rescue Squad concocted paper/email trails to purpmiedly cover up the fact
13
      thatWalmart never subpoenaed Amazon for Huynh 's personnel files. Third, the Rescue
14
15    Squad and theWalmart Participants improperly stole Huynh 's 20 13 email to JeffBezos.

16             195.   Claim # 4 and #5 in Huynh's complaint put Huynh 's ADHD infliction and
17    mental health at the center of his lawsuit which enabled the RICO Defendants to legitimately
18
      obtain Huynh 's psychiatrist and medical records then misrepresented them to falsely portray
19
      Huynh 's as mentally ill, unhinged, and prone to violence to destroy Huynh 's credibility as a
20
      whistleblower in order to effectuate prong #2 and #3 of the RICO Enterprise 's illegal cover­
21
22    up scheme. But for the RICO Defendants ' shotgun pleaded actions, the Rescue Squad would

23    not have been allowed to subpoena Huynh 's medical and psychiatrist records as a matter of

24    law due to Huynh 's rights to Constitutional Privacy afforded by both the US Constitution and
25
26
27
28
                                                       126
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1     California Constitution because under Huynh's SOX claim Huynh only asserted a garden-va­
2
      riety emotional distress claim 42 so the Rescue Squad and the Walmart Participants were not
3
      allow to obtain Huynh's psychiatrist records and medical records. Exploiting deRubertis' ne­
4
      farious and frivolous FEHA claim #4 and #5, Brass, Steward, and Wilson repeatedly made
 5
 6    misleading statement of the law to ruthless and viciously go after Huynh's psychiatrist rec­

 7    ords, including the deposition of Huynh's wife and the attempt to depose Huynh's juvenile

 8    son under the pretext that they needed them to assess Huynh's level of emotional distress.
 9
             196.    Below are the excerpts from Rachel Brass' January 21, 2019 letter where she
10
      forced/caused Huynh to release his psychiatrist records to the RICO Defendants.
11
12
      42
         In Earhart v. Bofl Holding, Inc. (15cv2287-BAS (NLS) (S.D. Cal. Sep. 4, 2018), a SOX re­
13    taliation case, the Hon. Nita L. Stormes United States Magistrate Judge denied BOFI's re­
14    quest for Earhart's Medical Record. Judge Stormes wrote "In light of the allegations in his
      complaint, the Court finds that Erhart has not waived the medical privilege protecting his
15    medical records under California state law. The remaining claims in Erhart's complaint only
      involves "garden-variety" emotional distress claims. Such claims are not sufficient to waive
16    the privilege. Compare EEOC v. Peters' Bakery, 301 F.R.D. 482, 487 (N.D. Cal. 2014) (de­
      spite finding medical records relevant, holding that the "right to privacy in medical records
17    found in the federal and California constitutions was not waived by assertion of a garden vari­
18    ety claim for emotional distress").
      In E.E.O.C. v. Serramonte 237 F.R.D. 220 (N.D. Cal. 2006), Chief United States Magistrate
19    Judge, LARSON, wrote "Second, Ms. Wei has not waived her right of privacy by asserting
20    more than a garden-variety claim of emotional distress. Turner v. Imperial Stores, 161 F.R.D.
      89, 97 (S.D.Cal.1995). Defendants attempt to distinguish the case at bar from Turner, in
21    which the court held that a plaintiff had not waived privilege and did not have to submit to a
      Rule 35 medical examination, because they are not asking Wei to submit to a medical exami­
22    nation but are attempting to obtain access to her medical records. This Court finds that if any­
      thing, delving into a plaintiff's medical or psychiatric records is even more invasive than
23    conducting a medical or psycho-logical examination, and that the standard for waiver
24    should be at least as rigorous as that in Turner. See Fitzgerald v. Cassil, 216 F.R.D. 632, 636-
      638 (N.D.Cal.2003), citing Fritsch v. City of Chula Vista, at 187 F.R.D. 614, 632
25    (S.D.Cal.1999). In Fritsch, the defendant, as in this case, sought medical records unlimited
      as to time: (" from her first visit to your offices to the present") Id. at 616. Even though
26    the plaintiff in that case claimed " severe" emotional distress, the magistrate judge found that
      this alone did not j ustify disclosure of any medical records. " [T]he plaintiff has not brought a
27
      claim for either intentional or negligent infliction of emotional distress; she does not allege
28    that she suffered a psychiatric injury or disorder as a result of the defendants' conduct;
                                                         127
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 1       •     Ali v. eBay, Inc., 2018 WL 3368389, at *2 (N.D. Cal. July 10, 2018) (requiring re­
2              lease of medical records in a disability discrimination and retaliation lawsuit because
               "a person waives their right to privacy by bringing claims concerning physical or
 3             mental health inj uries")
 4       •     Bregman v. District of Columbia, 182 F.R.D. 352, 360 (D.D.C. Oct. 23, 1998)
               (granting motion to compel plaintiff to provide names of medical providers who
5              treated plaintiff for conditions relevant to plaintiff s claim)
 6       •     Walmart is "entitled to discover what other causes exist for Plaintiffs emotional dis­
               tress, regardless of whether any such other causes occuned before the events at issue
 7
               in the lawsuit or afterwards." Enwere v. Terman Assocs. , 2008 WL 5146617, at *4
8              (N.D. Cal. Dec. 4, 2008) (emphasis added).
9
10           197.    Below are the excerpts from Brass's February 8, 2019, letter to Huynh to
11    force/cause Huynh to release his medical records to Walmart. (all these letter was forwarded
12
      to Huynh either by Stewart or Wilson at Brass' instruction).
13
14       "By placing your health and medical history directly at issue, you made the requested
         information relevant to your claim and Walmart's defense. Your entire medical history is
15
         relevant-among other reasons-to show whether symptoms and other manifestations
16       were caused by Plaintiffs medical condition( s), whether Plaintiff suffered the alleged
         "emotional distress," and, if so, what caused such emotional distress."
17
18       • Doe v. City of Chula Vista, 196 F.R.D. 562, 568-69 (S.D. Cal. 1999) (holding that a
           plaintiff who sought damages for severe emotional distress in a case alleging disability
19
           discrimination could not fairly prevent discovery into evidence relating to causation)
20       • Bangoura v. Andre-Boudin Bakeries, Inc., 2012 WL 5349569 at *3 (N.D. Cal. Oct.
21         29, 2012) (finding that in a case seeking monetary compensation for emotional dis­
           tress, defendant is "entitled to discovery that will shed light on the nature of Plaintiff s
22         alleged emotional distress and on the sources that proximately gave rise to it.").
23                                Signatures Falsification and Identity Theft
24
             198.    A month before Huynh even agreed to let deRubertis put Huynh's ADHD con­
25
      dition at the center of his lawsuit against Walmart, Kari and David deRubertis acted in concert
26
      with the other RICO Defendants to falsify Huynh's signature and stole Huynh's identity to il­
27
28    legally obtain Huynh's psychiatrist records and medical records to effectuate prong #2 and #3
                                                      128
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 1    of the illegal covernp scheme. These RICO Defendants used and/or caused other use a hun­
 2    dred instances of US mails and the wire transmission facilities e.g., the Internet and cell phone
 3
      to illegally obtain Huynh's psychiatrist and medical records. For example, David and Kari
 4
      deRubertis caused other to ask Huynh to sign a blank and concocted HIPAA Medical Record
 5
      Authorization Release Form in Mid-Nov. This blank fonn didn't comply with HIPPA be­
 6
 7    cause it didn't list the name of the health care service providers, what types of medical records

 8    were requested, and the time period for the record requests. In short, the RICO Defendants

 9    leveraged this blank fonn to fill in the names of whatever health care providers they desired
10
      and all types of medical and/or psychiatrist records they desired unbounded by time to ille­
11
      gally obtain Huynh's medical and psychiatrist records.
12
13            1 99.   David and Kari deRubertis sent and/or caused other to be sent the signed con­
14    cocted blank medical record release authorization forms along with a generic cover letter to
15
      Huynh's psychiatrist, Dr. Bolte, on three occasions (January, June, and September of 20 1 8) to
16
      illegally obtain Huynh's office visits with Dr. Bolte for the period of 20 1 2 to Sept 201 8 with­
17
      out Huynh's authorization and knowledge. Subsequently, David and Kari deRubertis with the
18
19    help of Doug Kasales, Epiq Global 's Sr. Project Manager, produced Huynh's psychiatrist rec­

20    ords under the table without the "Confidentiality" designation so the other RICO Defendants

21    could effectuate prong #2, #3, and #6 of the WSF Coverup Enterprise's illegal coverup
22
      scheme.
23
24           200.     It is also important to note that while deRubertis' purported reason for delaying

25    filing Huynh's civil complaint from Dec 20 17 to Mar 20 1 8 was due to deRubertis' busy
26    schedule. deRubertis' statement was misleading because it contradicted with the reason he
27
      stated in the letters and emails that David and Kari deRubertis sent to Huynh's psychiatrist to
28
                                                1 29
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 1    rush her to produce Huynh's psychiatrist records under the pretext that these records were
 2    needed to meet urgent court's filing deadlines.
 3

 4       "Please note that this is a RUSH REQUEST as we have a court deadline fast ap­
         proaching. Please feel free to provide records to me by fax at (818) 761-2323 or to my
 5       email at iessica@derubertislaw.com. Alternatively, please feel free to mail the records to
 6       our office at 4219 Coldwater Canyon Avenue, Studio City, California 91604. "

 7
             201.    Kari and David deRubertis caused others to ask Huynh to sign the Swedish
 8
      Medical's release form but left the signed date blank. Because Huynh forgot to leave the
 9
      signed date blank, David and Kari deRubertis order their assistance to remove the date from
10
      the signed form. This allowed the deRubertis Law Fi1m to fill in the signed date any time after
11
12    Huynh signed the form to obtain all of Huynh's medical records from Swedish Medical with­

13    out Huynh's authorization and knowledge. On at least two occasions David and Kari deRu­
14    bertis caused other to send the Jan and June 2018 record request letters to Swedish Medical to
15
      illegally obtain Huynh's medical records. The deRubertis Law Film also falsified Huynh's
16
      signature on the California Employment Development Department (EDD) record release
17
      fonns to obtain Huynh's medical records and personnel files on Jan 2018 and July 2018.
18
19           202.    Additionally, after David and Kari deRubertis used US mails and wire trans­

20    mission facilities on many separate instances to illegally obtained Huynh's medical and psy­

21    chiatrist records, Kari and David deRubertis acted in concert with Kasales and lindem to pro­
22    duce Huynh's psychiatrist records under the table to the Rescue Squad in late Sept 2018. The
23
      Rescue Squad later used these records to prong #2 and #3 of the illegal coverup scheme.
24
25           Obtained Huynh's Psychiatrist and Personnel Records Through Intimidations
             and Threats
26
27           203.    Building upon the David deRubertis' FERA claims Boutros, Scalia, Brass,
28
                                              130
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 1    Stewart, Wilson, and Schuemann acted in concert to use and/or caused other to use the US
 2    mail and wire transmission facilities to go after Huynh's psychiatrist and personnel records at
 3
      warp speed and wicked intensity to effectuate prong #2, #3, and #6 of the illegal coverup
 4
      scheme.
 5
             204.    On Nov 29, 2018, the Rescue Squad served Walmart's First Set of lnterroga-
 6
 7    tory (specifically ROG #6 and #7) to Huynh via email to pressure Huynh to provide answers

 8    regarding Huynh's ADHD diagnoses and treatments dated back to 1 996 to effectuate prong

 9    #2, #3, and #6 of the illegal coverup scheme.
10
             205.    On Nov 29, 2018, the Rescue Squad served Walmart's first set of Request for
11
      Document Production (specifically RFDP # 22 to 29) to Huynh via email to pressure Huynh
12
      produced all documents related to the diagnosis and treatment of Huynh's ADHD conditions
13
      unbounded by time to effectuate prong #2, #3, and #6 of the RICO Enterprise's coverup
14
15    scheme.

16           206.    On December 6, 20 1 8, Rescue Squad emailed and UPS a subpoena to Huynh's
17    psychiatrist, Dr. Bolte and demanded that she removed redactions from all the medical rec­
18
      ords to Walmart to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
19
             207.     On December 21, 2018, the Rescue Squad caused Dr. Bolte to produce Huyn-
20
      h's psychiatrist records/visit notes to effectuate prong #2, #3, and #6 of the illegal coverup
21
22    scheme. See Exhibit X.

23           208.    On January 2 1 , 2 0 1 8, the Rescue Squad emailed Huynh a letter dated Jan 21,

24    2019 to pressure Huynh to produce a comprehensive list of documents and answers to inter­
25    rogatories concerning Huynh's ADHD diagnosis, and treatments (e.g., list of medical and psy­
26
      chiatrist providers, list of diagnosis and medication, mental health records etc.) unbounded by
27
      time for no legitimate and/or rational basis related to Walmart's defense against Huynh's SOX
28
                                               1 31
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 1    whistleblower retaliation claim except to effectuate prong #2, #3, and #6 of the illegal cov­
 2    erup scheme. See Exhibit X.
 3
             209.    On January 28, 2019, the Rescue Squad emailed Huynh a letter dated Jan 28,
 4
      2019 and threatened Huynh that if he failed to produce his psychiatrist records the Rescue
 5
      Squad would get Magistrate Judge Sallie Kim to intervene to force Huynh to do so in order to
 6
 7    effectuate prong #2, #3, and #6 of the illegal coverup scheme.

 8           210.    On February 4, 2019, the Rescue Squad E-filed a request for a telephone con­

 9    ference call with Magistrate Judge Sallie Kim to get her to order Huynh to produce Huynh
10
      psychiatrist records. to effectuate prong #2, #3, and #6 of the RICO Enterprise's coverup
11
      scheme.
12
             211 .   On February 9, 2019, the Rescue Squad emailed Huynh a letter dated Feb 8,
13
      2019 to pressure Huynh to produce a comprehensive list of documents and provided answers
14

15    to interrogatories concerning Huynh's ADHD condition and treatment e.g., list of medical and

16    psychiatrist providers, list of diagnosis and medication, mental health records etc. dating back
17    to 2006 to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
18
             212.    On February 10, 2019, the Rescue Squad caused Huynh to email them a list of
19
      all of Huynh's medical and mental health providers dated back to 2006 as well as all emails
20
      and text messages Huynh exchanged with Huynh's psychiatrist, Dr. Bolte to effectuate prong
21
22    #2, #3 , and #6 of the illegal coverup scheme. See Exhibit X.

23           213 .   On February 10, 2019, Rescue Squad caused Huynh to email them all the

24    email communication Huynh had with the El Camino Medical Group and Swedish Medical
25    Group to effectuate prong #2, #3 , and #6 of the illegal coverup scheme.
26
             214.    On February 13 , 2019, the Rescue Squad subpoenaed Dr. Frank Annis, Huyn-
27
28
                                              132
                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1    h's psychiatrist via US mails and fax, for all the records and meeting notes regarding the diag­
 2    noses and treatments of Huynh's ADHD conditions to effectuate prong #2, #3, and #6 illegal
 3
      coverup scheme.
 4
             215 .    On February 13, 2019, the Rescue Squad subpoenaed Dr. Vu Oanh, Huynh's
 5
      psychiatrist, via US Mail for all records and meeting notes regarding the diagnoses and treat­
 6
 7    ments of Huynh's ADHD conditions to effectuate prong #2, #3, and #6 of the illegal coverup

 8    scheme.

 9           216.     On February 13, 2019, Rescue Squad subpoenaed Dr. Thi Nguyen, Huynh's
10
      primary care physician at the Swedish Medical Group via US mail and fax to effectuate prong
11
      #2, #3, and #6 of the illegal coverup scheme.
12
             217.     On February 13, 2019, the Rescue Squad subpoenaed Monthy Owen, Huynh's
13
      psychotherapist via US mail and fax, for all records and meeting notes related to the treatment
14
15    of Huynh's ADHD to effectuate prong #2, #3, and #6 of the illegal coverup scheme.

16           2 1 8.   On February 13, 2019, the Rescue Squad subpoenaed Associated Behavioral
17    Health Care via US Mail, for all records and meeting notes related to the treatment of Huynh's
18
      ADHD conditions to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
19
             219.     On February 19, 2019, the Rescue Squad caused Dr. Annis, Huynh's psychia­
20
      trist, to fax all documents concerning detailed diagnoses and medication treatments (Dr. An­
21
22    nis also produced previous records from Dr. Sheri Spirt, Huynh's psychiatrist in NYC, who

23    first diagnosed Huynh with ADHD in 1999) to effectuate prong #2, #3, and #6 of the illegal

24    coverup scheme.
25           220.     On February 25, 2019, the Rescue Squad emailed and demanded that Huynh
26
      signed a medical record's release form which would authorize Walmart to obtain Huynh's
27
      medical and psychiatrist/psychotherapist records from any health care providers they desire to
28
                                               133
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1    effectuate prong #2, #3 , and #6 of the illegal coverup scheme.
2            221.    On February 26, 2019, the Rescue Squad caused Huynh to produce all of his
 3
     medical records from the Swedish Medical group via email to them to effectuate prong #2, #3 ,
4
     and #6 of the illegal coverup scheme.
5
             222.    On Mar 4, 2019, the Rescue Squad caused Huynh to email them a signed med­
6
 7    ical record release/authorization form which allowed the RICO Defendants to obtain Huynh's

 8   psychiatrist and medical records from any of Huynh's health care providers to effectuate

9    prong #2, #3 , and #6 of the illegal coverup scheme.
10           223.    On April 1, 2019, Rescue Squad threatened Huynh via email that if he didn't
11
     remove redactions from Dr. Bolte's visits/therapist notes (specifically the note that related to
12
      Huynh's 2013 email to Jeff Bezos surrounding Huynh's termination) they would get Magis­
13
     trate Judge Kim to force Huynh to produce the records in order to effectuate prong #2, #3, and
14
15    #6 of the illegal coverup scheme.

16           224.    On April 1, 2019, the Rescue Squad caused Huynh to produce unredacted ver­
17    sion of Dr. Bolte office visits records from Mar to Oct 2018 via email to effectuate prong #2,
18
      #3 , and #6 the illegal coverup scheme.
19
             225 .   On April 1, 2019, the Rescue Squad caused Huynh to produce additional unre­
20
      dacted version of Dr. Bolte office visits records, specifically those records that related to
21
22    Huynh's juvenile son's diagnosis and treatment to effectuate prong #2, #3 , and #6 the illegal

23    coverup scheme.

24           226.    On April 4, 2019, the. Rescue Squad served Huynh their half of the discovery
25    brief letter via email to threaten Huynh with Court's intervention to force Huynh to remove
26
      additional redactions from Dr. Bolte's records (specifically those that related to Huynh's 2013
27
      email to Jeff Bezos) for no legitimate and/or rational basis in relation to Walmart's defense
28
                                               134
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 1   against Huynh's SOX retaliation claim except to effectuate prong #2, #3, and #6 of the illegal
 2   covernp scheme
 3
            227.    On April 10, 2019, the Rescue Squad caused Huynh to produce additional un­
 4
     redacted version of Dr. Bolte office visits records (specifically, the Nov 2013 therapist note
 5
     where Huynh confided to Dr. Bolte about his 2013 email to Jeff Bezos43 to the Rescue Squad
 6
 7   via email for no legitimate and/or rational basis in relation to Walmart's defense against
 8   Huynh's SOX retaliation claim except to effectuate prong #2, #3, and #6 of the illegal coverup
 9
     scheme.
10
            228.    On April 21, 2019, Rescue Squad demanded via email that Huynh removed re­
11
     dactions from Dr. Bolte's record from Dr. Bolte's Mar and Oct 201 8 which included infor-
12
13   mation about Huynh's juvenile son medical condition for no legitimate and/or rational basis in

14   relation to Walmart's defense against Huynh's SOX retaliation claim except to effectuate

15   prong #2, #3, and #6 of the illegal coverup scheme.
16          229.    On April 2 1, 2019, the Rescue Squad caused Huynh to produce un-redacted
17
     versions of Dr. Bolte's records via email for Huynh's Mar and Oct 2018 office visits for no
18
     legitimate and/or rational basis in relation to Walmart's defense against Huynh's SOX whis­
19
     tleblower retaliation claim except to effectuate prong #2, #3, and #6 of the illegal coverup
20

21   scheme.

22          230.    On August 8, 20 1 9, the Rescue Squad caused Huynh to produce up to date rec­

23   ords of his recent office sessions with Dr. Bolte for no legitimate and/or rational to effectuate
24

25

     43
26
       See paragraph X for discussions on how David deRubertis mine Huynh's personal laptop
27   hard drive for Huynh's email to Jeff Bezos and Amazon personnel file then leaked them to the
     RICO Defendants. Also see paragraph Y discussions on how the GDC Squad stole a copy of
28   Huynh's 2013 email to Jeff Bezos without Huynh's consent)
                                                    135
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1    prong #2, #3, and #6 of the illegal coverup scheme.
2
             231.   The RICO Defendants leverage deRube1iis FEHA discrimination and retalia­
 3
 4   tions claims to use and/or cause other to use US Mail and/or the wire's transmission network

 5   in many instances to subpoena any and all of Huynh's previous personnel files from his for­
 6   mer employers dated back to 1996 under the pretext that Huynh had a pattern of making false
 7
     allegations against employers for personal gain to destroy Huynh's credibility as a whistle­
 8
     blower in order to effectuate prong #2 and #3 of the coverup scheme. If it was not for deRu­
 9
     bertis shotgun pleaded these frivolous FEHA would not be able obtain Huynh's personnel
10
11   files as a matter of laws because under SOX and California Labor Code 1102.5 a whistle-

12   blower's motive is irrelevant in assessing whether he engaged in protected conducts.

13

14
         •    SOX: in a March 2019 ARB opinion in Hernandez v. Metro-North Commuter Rail­
              road Co., Inc., ARB No. 17-016, ALJ No. 2016-FRS-23, the ARB noted that "a
15            complainant's motive in making a protected complaint is irrelevant," citing Guay v.
              Burford' s Tree Surgeons, Inc., ARB No. 2006-013 1, ALJ No. 2005- STA00045, slip
16
              op. at 7 (ARB Jun. 30, 2008) (("However, 'where the complainant has a reasonable
17            belief that the respondent is violating the law, other motives he may have for engag­
              ing in protected activity are irrelevant."') (quoting Diaz-Robainas v. Florida Light &
18
              Power Co., 1992-ERA-00010 (Sec'y Jan. 19, 1996)))".
19
         •    California Labor Code § 1102.5 : See Mize-Kurzman, supra, 202 Cal.App.4th at p .
20            852, original italics. "[I]t is not the motive of the asse1ied whistleblower, but the na­
              ture of the communication that determines whether it is covered.". See Judicial
21
              Council of California Civil Jury Instructions (May 2020) at page 1306 (CACI No.
22            4603).
23
             232.   Boutros, Scalia, Brass, and Steward used the nefarious FERA claims to e-file
24
     DC Dkt. 69 in late May 2018 to misrepresented the laws related to Huynh's SOX claim to im­
25
26   properly influence Magistrate Judge Sallie Kim to force Huynh to produce his Amazon's per­

27   sonnel files (specifically the 2013 email to Jeff Bezos among other files) to Walmart for no
28
                                             136
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1    legally valid reasons except to help effectuate prong #2, #3 , and #6 illegal cover-up scheme.
2    The Rescue Squad made the following misleading statements about the laws in their court' s
 3
     filing to improperly influence Magistrate Judge Sallie Kim t o order Huynh to tum over his
4
     Amazon's personnel files.
 5
 6        "First, documents related to Plaintiffs prior employment-including allegations of
 7       wrongdoing made against his prior employers-are probative of the veracity of the merits
         of Plaintiffs claims here." DC Dkt. 69 at 3. (Both of these cases had nothing to do with
 8       Huynh's SOX Whistleblower retaliation claim against Walmart). 44
 9
          I.    In Frazier v. Bed, Bath & Beyond, Inc., which concerned requests for prior employ­
10              ment records nearly identical to those at issue here, the Court found such documents
                relevant under Federal Rule of Evidence 404(b) and 406 and ordered production.
11
                Dkt. 10, 2011 WL 5854601, at *2 (N.D. Cal. Nov. 21, 2011). That is because such
12              documents bore directly on whether the plaintiff had a history of alleging mistreat­
                ment by his employers and the credibility of claims against his current employer. Id.
13
                at *1.
14       II.    Similarly, in Dornell v. City of San Mateo, the Court held that personnel records
                from a plaintiff s prior employers were relevant to claims of employment discrimi­
15
                nation and adverse treatment by a current employer; specifically, the records were
16              probative of whether the plaintiff had a pattern of complaining about discrimination.
                Dkt. 30, 2013 WL 5443036, at *5 (N.D. Cal. Sept. 30, 2013).
17
18
               233.   As a result of the RICO Defendants' misrepresentations, Magistrate Judge Sal­
19
      lie Kim ruled in Walmart' s favor in late May 2019 (DC Dkt. 72) by ordering Huynh to release
20
     his Amazon's personnel files to Walmart. However, the troublesome part was not that Magis­
21
     trate Judge Sallie Kim ruled in Walmart's favor but rather Judge Kim took it a step further to
22
23
     44 Frazier v. Bed, Bath & Beyond, Inc was a retaliation and discrimination case asserted under
24   Title VII of the Civil Rights Act of 1964 and the New Jersey Law Against Discrimination
     ("NJLAD") See: https: //storage. courtlistener.com/re-
25
     cap/gov. uscourts.njd.247975 /gov.uscourts.njd.247975 . 54.0.pdf at 4 while Dornell v. City of
26   San Mateo was a discrimination and retaliation in violation of Title VII, 42 U. S.C. § 2000 et
     seq. ("Title VII"), and California Fair Employment and Housing Act, Cal. Gov't Code §
27   12940 et seq. ("FEHA") case. See https://storage.courtlistener.corn/re­
     cap/gov.uscourts.cand.261155/gov. uscourts.cand.261155.59.0.pdf
28
                                              137
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 1    lend credibility to Walma1i's false asse1iion that Huynh was a fake whistleblower by indi­
 2    rectly to misleading classify Frazier v. Bed, Bath & Beyond, Inc. as a discrimination and re-

      taliation whistleblower case when in fact it was not45 . As previously discussed under SOX a
 3

 4
      whistleblower motive for blowing the whistle was irrelevant. See COA Dkt. 33 at X.
 5
 6                                   Give Us the Jeff Bezos Email or Else!
 7
             234.    In Mid-March 20 19, Huynh discovered for the first time that the RICO De-
 8
      fendants (deRubertis and Kasales engaged in data mining of Huynh's personal laptop hard
 9
      drive (see paragraph X) to extract privilege attorney-client communications between Huynh
10
11    and Sean McKessy and Rebecca Chang as well as the Scott Blankenship Law Firm PLLC46

12    (who provided legal advises to Huynh in 201 3 relating his Amazon employment matters).
13    Second, the Rescue Squad stole Huynh's 201 3 email to Jeff Bezos then file the letter as
14
      Walrnart's Exhibit 1 17 to support Walrnart's Motion for Summary Judgement and to misrep­
15
     resent these facts and the laws to the SEC and/or the DOJ that Huynh had a pattern of blowing
16
      the whistle for personal gain. Third, Huynh's entire iPhone backup text file which included
17
18    private communications between Huynh and his confidants regarding his ADHD conditions

19   which had nothing to do with Walrnart's defense against Huynh's SOX claim. The Rescue

20    Squad stole this record which they subsequently filed under Exhibit 124 in support of
21   Walrnart's Motion for Summary Judgement in order to effectuate prong #2, #3 , and #6 of the
22
      illegal coverup scheme.
23

24
25    45
         Judge Kirn wrote in her order: "First, the documents potentially show Plaintiff's pattern
     and practice of alleging that he was the victim of discrimination and retaliation as a
26
     whistleblower. Frazier v. Bed, Bath & Beyond, Inc., 201 1 WL 5854601, at *2 (N. D. Cal.
27   Nov. 2 1, 201 1) (finding discoverable personnel records as evidence of a pattern and practice
     of alleging discrimination)."
28   � 6 https://www. blankenshiplawfinn.com/
                                                        138
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1             235.   Even though, Huynh doesn't have direct evidence to prove the assertions
2    above, there are circumstantial evidence which proved that deRubertis provided the infor­
 3
     mation he stole from Huynh's personal laptop to the Rescue Squad and the Walmart Paiiici­
4
     pant based on the types of inteTI'ogatories and request for document productions the Rescue
 5
     Squad impounded upon Huynh during discovery. These RFDPs and Interrogatories were de­
 6
 7   rived from the information David deRubertis stole from Huynh's personal laptop hard drive.

 8   See the table below.

 9
          Data Mining                            Walmart's RFDPs and ROGs
10
11    •    Huynh's       •   RFDP # 43 : All documents relating to any other legal action Plaintiff has
           email to          commenced, or threatened to commence, against any employer.
12         Jeff Bezos    •   RFDP #44: All documents concerning any other allegation of discrimina-
           in 2013 .         tion Plaintiff has made against any person, including but not limited to
13         (See Ex. X)       other employers.
14    •    Huynh's       •   RFDP # 43 : All documents relating to any other legal action Plaintiff has
           commum-           commenced, or threatened to commence, against any employer.
15         cations
           with the
                         •   RFDP #50: All documents concerning any allegation of employment-re-
16                           lated retaliation Plaintiff has made against any person, including, but not
           Blanken-          limited to other employers.
           ship Law
17
           Finn seek-
                         •   RFPD #51: All documents concerning any alleged violations by any pre-
           ing advices       vious employer of Plaintiff of the Sarbanes-Oxley Act, the federal securi-
18                           ties laws, federal antitrust laws (See Email to Jeff Bezos), or any other
           regarding
19         the Arna-         law, regulation, or rule.
           zon's Em-     •   RFDP #52: All documents concerning any allegations of employment-
20         ployment          related ethical violations that Plaintiff has made against any person, in-
           matters.          eluding but not limited to other employers.
21
           (Ex. Y)
22
      •    Huynh's       •   ROG # 1: Identify all persons, including, but not limited to, present or
23         commum-           former employees or representatives ofWalmart, with whom You or an-
           cation with       yone on Your behalf has spoken or communicated about Your Com-
24         Sean              plaint, the allegations in the Complaint, or this lawsuit and describe any
           McKessy           such discussions or communications.
25
      •    Huynh's       •   ROG #2: Identify all email addresses that You have maintained or used
26         iPhone            from January 1, 2014, to the present.
27
           Backup        •   RFDP #4: All documents concerning or relating to any communications
           file.             Plaintiff has had with Walmart (including, as defined above, Walmart's
28    •    Huvnh's
                                              139
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 1        personal          employees and agents) since the date of the termination of Plaintiff s em-
          emails            ployment with Walmart
 2        which         •   RFDP #47 : All documents relating to statements obtained by Plaintiff or
 3        Huynh sent        anyone acting on Plaintiffs behalf from any witnesses and/or from any
          from his          person with knowledge of relevant facts regarding allegations of the
 4        Gmail and         Complaint.
 5
          Yahoo ac-
          counts
                        •   RFDP # 12: All documents concerning any communication between
                            Plaintiff and/or his attorneys and the Securities and Exchange Commis-
 6                          sion ("SEC").

 7
      •   Huynh's       •   RFDP #54: All documents constituting text message communications be-
 8        iPhone            tween Plaintiff and any ctment or forn1er Walmart employee from Ja1m-
          Backup            ary 1, 2016 to the present.
 9        file.         •   All documents constituting text message communications between Plain-
10                          tiff and any other person from January 10, 2017 to the present relating to
                            Plaintiffs work at Walmart, Plaintiffs tennination from Walmart, and/or
11                          Plaintiffs administrative charges and lawsuits against Walmart.
12
13
            236.    Even though, Huynh currently doesn't possess direct evidence (i.e., the what,
14
      who, when, and how the RJCO Defendants communicated among themselves using their
15
     common wire and mail c01mnunication infrastructure to prove that the RICO Defendants
16
17   acted in concert to steal Huynh's information to effectuate prong #2, #3, #6 of the illegal cov­

18   erup scheme. However, Huynh strongly believes that this information is in the RICO Defend­

19   ants' possession and is discoverable during the discovery.
20
21                                  The RICO Enforcer and Leg Breaker

22
            237.    On Sept 25, 2019, David deRubertis caused both Anthony Nichols and Garen
23
     Nadir to call Huynh to purportedly ask Huynh to sign an authorization form to allow the deR­
24
     ubertis Law Firm to obtain all of Huynh's Amazon personnel file for no legitimate and/or ra­
25
26   tional basis in relation to Walmart's defense against Huynh's SOX claim except to effectuate

27   prong #2, #3, and #6 of the illegal coverup scheme.

28
                                             140
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1            238.   On Sept 25, 2019 @10:27 AM, deRubertis chastised and pressured Huynh via
 2   email to force Huynh to signed the Amazon's personnel files release form to effectuate prong
 3
     #2, #3, and #6 of the illegal covernp scheme.
 4
 5           239.    On Sept 25, 2019 @ 5 :37 PM, deRube1tis threatened and pressured Huynh via

 6    email to force Huynh to signed the Amazon's personnel files release form for no legitimate
 7
      and/or rational basis in relation to Walmait's defense against Huynh's SOX retaliation claim
 8
      except to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
 9
10           240.    On Sept 27, 2019 @ 5:27 PM, David deRubertis once again harassed and pres­
11
      sured Huynh via email to force Huynh to sign the Amazon's personnel files release form for
12
      no legitimate and/or rational basis in relation to Walmart's defense against Huynh's SOX re­
13
      taliation claim except to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
14
             241.    On Sept 28, 2019 @ 9:04 AM, David deRubertis again harassed and pressured
15
16    Huynh via email to force Huynh to signed the Amazon's personnel files release form for no

17    legitimate and/or rational basis in relation to Walmart's defense against Huynh's SOX retalia­
18    tion claim except to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
19
             242.    On Sept 28, 2019 @ 2:23 PM, David deRubertis again harassed and pressured
20
      Huynh via email to force Huynh to signed the Amazon's personnel files release form for no
21
      legitimate and/or rational basis in relation to Walmart's defense against Huynh's SOX retalia­
22
23    tion claim except to effectuate prong #2, #3, and #6 of the illegal coverup scheme.

24           243.    On Oct 8, 2019 @ 2: 18 PM, David deRubertis again harassed and threatened

25    that if Huynh will not sign the record release form deRubertis would drop Huynh as client to
26    extort Huynh to sign the Amazon's personnel files release form for no legitimate and/or ra­
27
      tional basis in relation to Walmart's defense against Huynh's SOX retaliation claim except to
28
                                              14 1
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 1   effectuate prong #2, #3, and #6 of the illegal covernp scheme.
 2
             244.    On Oct 10, 2019 @ 7:59 PM, David deRubertis again harassed and threatened
 3
 4   to withdraw as Huynh's counsel to extort Huynh to sign the Amazon's personnel files release

 5   form for no legitimate and/or rational basis in relation to Walmart's defense against Huynh's
 6    SOX retaliation claim except to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
 7

 8           245 .   Huynh could no longer take the abuse and pain that deRubertis repeatedly in­

 9   flicted upon him up, Huynh wrote deRubertis a 10-page response email on Oct 10, 2018 at

10   9 :35 PM. In the email, Huynh provided a summary of all the California Rules of Professional
11
     Conducts and State Bar Acts of California that deRubertis had broken during Huynh's repre­
12
      sentation. On October 16, 2018, Huynh emailed David deRubertis a signed letter asking deR­
13
     ubertis to withdraw himself as Huynh's lawyer because Huynh could no longer trusted deRu­
14
     bertis to act in Huynh's best interest.
15
16
                                           Damsel In Distress Strategy
17
             246.    The RICO Defendants knew that after Huynh terminated his relationship with
18
19   deRube1iis, they would not be able to get Huynh to hand over evidence in his possession that

20   would implicate Walmart's and their executives civilly and criminally. To deceive Huynh to
21   hand over Huynh's personal lap top hard drive to the Rescue Squad the RICO Defendants en­
22
     gaged in the "Damsel in Destress" Strategy in two ways.
23
             247.    First, the Rescue Squad subpoenaed six of Huynh's previous employers to ob­
24
     tain Huynh's personnel records dating back to 1996 as well as Dr. Bolte, Huynh's psychia­
25
26   trist, for all of Huynh's psychiatrist records. The RICO Defendants attempted to gather the

27   most intimate information about Huynh's life in order to cause embarrassment and shame to

28   force Huynh to turn over Huynh's hard drive to effectuate prong #5 of the coverup scheme.
                                                    142
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 1           248 .   Second, David deRube1iis attempted to play the hero to save Huynh from the
2    evil "Rescue Squad" by offering to file a motion to quash the Rescue Squad's intrnsion into
 3
      Huynh's constitutional right to privacy if Huynh agreed to let Walmart imaged Huynh per­
 4
     sonal laptop hard drive and entered into a highly restrictive non-disclosure agreement to effec­
 5
     tuate prong #5 of the illegal coverup scheme. Ultimately, Huynh told deRubertis to get loss
 6
 7    because Huynh saw right through the RJCO Defendants' Damsel in Distress strategy because

 8   it made no sense to Huynh that deRube1iis went through a 180-degree reversal i.e., a sh01i

 9   time before, David deRubertis attacked Huynh viciously and ferociously in an attempt to get
10
      Huynh's Amazon personnel files and now he tried to rescue Huynh from the evil "Rescue
11
      Squad".
12
13
                                 Playing Ping Pong with Jeff Bezos's Money
14
             249.    In early April 2019, Huynh emailed Rachel Brass, Chris Wilson, and Susanna
15
16    Schuemann to request that Walmart provided him with his Amazon's personnel records which

17   Walmart subpoenaed Amazon in Mid-November 2018. Rachel Brass responded that Amazon

18   has no responsive records in an attempt to deceive Huynh and coverup the RJCO Defendants'
19   "Damsel in Distress" scheme. Two weeks later, Huynh emailed Rachel Brass again and
20
     asked her to provide Huynh with all the communications that Walmart had with Amazon con­
21
     cerning Huynh's personnel files. Rachel Brass responded that since Huynh didn't issue a
22
     RFDP Walmart would not honor Huynh's request. A month later, Huynh served Walma1i's
23
24   his third Request for Document Production. 47 In Mid-June 2019, the Rescue Squad purport-

25
26
27
     47
         RFDP #23 : All documents concerning the Defendants' communication with Amazon Inc.
28   �·egarding the Defendants' Subpoena of Amazon Inc. (See appendix A for the Defendants'
                                                  143
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1    edly produced two set of documents related to Huynh's RFDP #23. The first set of docu­
2    ments were related to the purported email exchanges between Rachel Brass and Melissa Lam­
 3
     falusi, Amazon's internal counsel, on Oct 12, 2018 where Brass asked Lamfalusi to help draft
4
     a narrowly scope subpoena that would be acceptable to Amazon. Based on Lamfalusi's feed­
 5
     back (i.e., a narrow scope subpoena), the Rescue Squad served Amazon the Subpoena on Oc­
6
 7   tober 15, 2018. The second set of documents were emails and documents exchange between

 8   Ryan Stewart and Haimah Ard, Amazon's purported outside counsel between Oct 24, 2018 48
 9
     and Dec 6, 2016. First, all the individual emails and documents were amalgamated into one
10
     big PDF file with no accompanying system metadata to conceal the facts that the communica­
11
     tions between Stewart and Ard were fabricated. Even though, Huynh didn't have the system
12
     metadata to prove that the communication between Brass and Amazon's inside counsel and
13

14   Stewart and Amazon's outside counsel were fabricated. However, from a logical standpoint,

15   there were at least two things that didn't pass the smell test concerning the purported commu­
16    nications among Rachel Brass, Ryan Stewart, Amazon's inside counsel, and inside counsel.
17
18           250.   First, after numerous email exchanges between Rachel Brass and Amazon's
19
     purported inside counsel, Brass and Amazon's inside counsel agreed on a reduce scope sub-
20
     poena that would be acceptable to Amazon. However, the subpoena that Walmart purportedly
21
22
     Subpoena to Amazon on 10/15/2018) for Plaintiffs employment records including, but not
23   limited to correspondences from Amazon to Defendants which Amazon sated that they had no
     responsive records related to Plaintiffs employment due to their records retention policies.
24   1. 48 Hannah Ark, Amazon's purported outside legal counsel, emailed Ryan Stewart Ama­
         zon's purported objection to Walmart's 10/15/18 Subpoena on Oct 24, 2018.
25       2. On 11/6/18, Ryan Stewart responded to Hannah Ark's opposition. Stewart and Ark's
26           met and conferred a week later on the matter. For the next month or so they were radio
             silence.
27       3. On 12/6/2018, Hannah Ark wrote to Ryan Stewart: "Amazon has info1med me that
             there are no personnel records available for Tri Huynh because his Amazon employ­
28           ment is too old - from 7/18/2011 to 1/22/2014.
                                                      144
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 1    served on Amazon on Oct 15 , 2018 was exactly the same as those that were served on
 2    Huynh's other fonner employers i.e., the scope of the Amazon' s subpoena was exactly not
 3
     nanower. Additionally, why would Amazon's inside counsel spend the time and resource to
 4
      help Brass draft a subpoena that would later be served on Amazon to invade the privacy and
 5
      potentially disclose Amazon's confidential info1mation?
 6
 7
              251.    Second, it made no sense whatsoever for Amazon to pay Hannah Ark, Ama­
 8
      zon's purport outside counsel, top dollars to play ping pong with Ryan Stewart for over a
 9
10    month to purportedly fight off Walmart' s subpoena only to come back a month later and told

11    Ryan Stewart that Amazon had no responsive documents to produce because Amazon purged
12    Huynh's personnel files (Amazon's policy was to purge personnel file that was older than
13
      four years). If that was the case, then Why Hannah Ark didn't communicate this to Ryan
14
      Stewart on day one and saved Jeff Bezos a lot money.
15
16
              252.     In short, as discussed thorough this complaint, the RICO Defendants' mode
17
      operandi when interacted with Huynh were: Kept Huynh in the dark (DC Dkt. 142-20 and
18
      142-21), being evasive in their responses, used intimidations and threats, and when all else
19
20    failed fabricate, lie, and obstruction ofj ustice.

21
                                         Invasion of Privacy at Warp Speed
22
23            253.    On October 11, 2018, the Rescue Squad subpoenaed Mu Sigma for all of

24    Huynh' s personnel records via mail to effectuate prong #2, #3, and #6 of the illegal coverup

25    scheme.
26

27           254.     On October 11, 2018, the Rescue Squad subpoenaed Array Networks for all of

28    Huynh' s personnel records via mail to effectuate prong #2, #3, and #6 the illegal coverup
                                                       145
                             COMPLAINT - DEMAND FOR JURY TRIAL
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 1   scheme.
 2
             255.    On October 8, 2018, the Rescue Squad subpoenaed Booz Allen and Hamilton
 3
 4   for all of Huynh's personnel records via US mail to effectuate prong #2, #3 , and #6 of the ille-

 5   gal coverup scheme.
 6
             256.    On October 9, 2018, the Rescue Squad subpoenaed Infosys for all of Huynh's
 7
 8   personnel records via mail to effectuate prong #2, #3 , and #6 of the illegal coverup scheme.

 9
             257.    On October 11, 2018 Rescue Squad Subpoenaed Motif Inc. for all of Huynh's
10
     personnel records via mail to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
11
12
             258.    On October 15, 2018, the Rescue Squad purportedly subpoenaed Amazon.com
13
     for all of Huynh's personnel records via mail to effectuate prong #2, #3, and #6 of the illegal
14
     coverup scheme.
15
16           259 .   On November 14, 2018, the Rescue Squad caused Infosys to produce all of
17
      Huynh's personnel files via email and fax to effectuate prong #2, #3, and #6 of the illegal cov­
18
     erup scheme.
19
20           260.    On November 18, 2018, the Rescue Squad caused Array Networks to produce
21
     all of Huynh's personnel files via mail (included personal credit report) to effectuate prong
22
     #2, #3, and #6 the illegal coverup scheme.
23
24           261.    On April 11, 2019, the Rescue Squad emailed Huynh and demanded that
25
     Huynh produced the 2013 Jeff Bezos letter as well as all of Huynh's Amazon personnel to ef­
26
     fectuate prong #2, #3 , and #6 the illegal coverup scheme.
27
28
                                             146
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 1           262.    As discussed throughout this complaint, the RICO Defendants illegally ob­
2    tained Huynh's private and confidential SEC submissions, Huynh's personnel files, Huynh's
 3
      medical records and psychiatrist records in order to effectuate the WSF Covernp Enterprise'
4
      illegal covernp scheme. However, this inf01mation could not be used until they were laun­
 5
      dered to cover up the fact that they were improperly obtained/stolen and/or they were classi­
 6
 7    fied as confidential under the term of protective order.

 8
             263.    For examples, David deRubertis attempted to use the 125-page OSHA
9
     amended complaint and the PAGA claim to legitimately leak Huynh's SEC submissions to
10
11    the Rescue Squad. Additionally, Kari deRubertis exploited the GO 71 document production

12    to produce Huynh's psychiatrist record without the confidentiality designation and the names

13    of over 30 potential witnesses that may have information regarding Walmart's illegal con­
14    ducts that Huynh submitted to the SEC to legitimately produce the illegal obtained records to
15
      the Rescue Squad so they could manipulate and misrepresent the facts in their communica­
16
      tions with the SEC and/or DOJ to misled the SEC into issuing Walmart a "Get Out of Jail "
17
      Card in early Apr 2019.
18
19
                                The Origin of the 333-Page "Nuts & Sluts" Dossier
20

21           264.    Similarly, the RICO Defendants obtained a massive amount of Huynh's consti­

22    tutionally protected information e.g., Huynh's psychiatrist records that dated back to 1999 as
23
     well as Huynh's perso1mel files that dated back to 1996. However, to use these documents to
24
      damage Huynh's credibility, personal and professional reputation, and Huynh's livelihood to
25
      effectuate prong #2, #3, and #6 of the illegal coverup scheme, the RICO Defendants must first
26
      launder them before they could disseminate to the SEC and/or DOJ, the Media, the Courts,
27
28   politicians and the American public. Thus, to launder these documents, the RICO Defendants
                                                     147
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 1    developed manipulated and leading questions which the Rescue Squad were asked Huynh's
 2    psychiatrist, Huynh's wife, and Huynh during deposition. The RICO Defendants used the
 3
      330-page deposition transcript of Huynh's deposition to create a the "Nuts & Sluts" dossier
 4
      on Huynh which were later filed in the public docket to support Walma1t's motion for sum­
 5
      mary judgement.
 6
 7
             265.    To illegally forced Huynh, his wife, and his psychiatrist to take depositions, the
 8
      RICO Defendants used and/or caused other to use the mail and wire's transmission facilities
 9
      on at on numerous instances to intimate, threat, and used the court to force Huynh, his wife,
10
11    and his psychiatrist to the deposition table to effectuate prong #2, #3, and #6 of the illegal

12    coverup scheme.

13
             266.    On May 15, 2019, the Rescue Squad served Dr. Bolte, Huynh's psychiatrist,
14
15    via email a deposition notices to force her to take a 6 hours deposition under the pretext of de­

16    termining Huynh' s level of emotional to effectuate prong #2, #3 , and #6 of the illegal coverup

17    scheme.
18
             267.    On May 15, 2019, the Rescue Squad served Huynh's wife and j uvenile son
19

20    deposition notices to compel them to take depositions regarding mental health under the pre-

21    text of assessing Huynh's emotional distress claim to effectuate prong #2, #3 , and #6 of the

22    illegal coverup scheme.
23

24           268.    On July 15, 2019, the Rescue Squad served Huynh with a second deposition

25   notice via email under the pretext of assessing Huynh's motive as a whistleblower based on

26    infonnation the RJCO Defendants stole from Huynh's hard drive to effectuate prong #2, #3 ,
27   and #6 of the illegal coverup scheme even though District Judge Chhabria granted Huynh's
28
                                                 148
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 1   request to drop all of David deRubertis wicked FEHA ADHD claims with prejudice on July 8,
 2   2019 (DC Dkt. 84). Thus, as a matter of law, there was no basis for Walmaii to continue to
 3
      force Huynh to take a second deposition because under SOX a Whistleblower motive for
 4
     blowing whistle was in-elevant.
 5
 6           269.   On August 12, 2019, Huynh filed a motion to quash Walmaii's subpoena to
 7
     take a deposition of Huynh's wife, especially after Huynh had already dropped all of David
 8
      deRubertis' nefarious FEHA ADHD claims. Thus, as a matter of law, Walmart could not as­
 9
     sert that they needed to depose Huynh's wife in order to assess Huynh's emotional distress
10
11   claim because Huynh already removed his ADHD condition from the lawsuit. Additionally,

12   Huynh didn't list his wife as a witness who may have knowledge about Huynh's level of emo­

13   tion distress as paii the rule 26 discovery disclosure. Despite these facts, Boutros, Brass, and
14    Stewart e-filed an opposition brief (DC Old. 109) on Aug 16, 2019. The Rescue Squad made
15
     misleading statements of facts and of laws to force Huynh' s wife to take a deposition for no
16
     legitimate and/or rational basis in relation to Walmart's defense against Huynh's SOX claim
17
     except to effectuate prong #2, #3, and #6 of the illegal coverup scheme.
18
19
             270.   The Rescue Squad improperly cited the case laws below to force Huynh's wife
20
     to a deposition in order to effectuate prong #2, #3 , and #6 of the illegal coverup scheme.
21
22       McCoy v. LTD Driving School, Inc., 2017 WL 3610552, at *6 (D. N.M. Feb. 21, 2017)
         (finding it "reasonably necessary" for Defendants to depose Plaintiffs husband regard­
23       ing Plaintiffs emotional distress claim). This is unsurprising because a spouse is well­
24       situated to offer testimony on the sources and severity of a party's emotional distress.
         DC Dkt. 109 at 4
25
         • First, this case was about a "Pregnancy Discrimination" not a Whistleblower
26
           retaliation case. The Plaintiff in this case put her physical health at the center
27
28
                                              149
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1             of the lawsuit. 49
2         •   Second, the rnling cited here was for "Attorney Liability for Costs and Fees un­
              der 28 U.S.C. § 1927" and not related to a motion to quash a spouse deposition.
3
              Regardless, Chief United States District Judge, M. CHRISTINA ARMIJO, wrote
4             clearly in her order "the deposition of Plaintiffs husband was * 15 reasonably
              necessary at the time it was taken because Plaintiff listed her husband (then fi­
 5            ance), repeatedly, as a person "likely to have discoverable inf01mation related to
 6            Plaintiffs emotional distress damages,"

 7            ► David deRubertis never listed Huynh's wife as someone who has knowledge about
                his level of emotional distress as paii of the GO 71 disclosure.
 8
              ► Huynh also listed his wife as someone who has lmowledge about his level of emo-
 9              tional distress as part of Rule 26 disclosure.
10        Lamothe v. Bal Harbour 10 1 Condo. Ass'n Inc., 2007 WL 781909, at *2 (S.D. Fla. Mar.
          1 3, 2007) ("It is [] customary in employment practice to depose close family members of
11
          a plaintiff with regard to an alleged emotional distress claim."
12
              271.     First, this case was not a SOX whistleblower retaliation case so it was inappo-
13

14   site to Huynh's case. Second, United States Magistrate Judge's, Edwin G. Torres, wrote "This

15   matter is before the Court on Defendant's Motion to Strike Witnesses [D.E. 63] that is based
16   upon Plaintiffs failure to disclose two witnesses in Rule 26 pretrial disclosures prior to the
17
     close of discovery. Defendant's pending Motion seeks to strike two witnesses, Angie
18
     Lamothe Plaintiffs wife, and Jeffrey Irvin - Plaintiffs nephew, from the trial witness list
19
20
21
     49
22      See https://storage.courtlistener.com/re-
     cap/gov. uscourts.nmd.323 715/gov. uscourts.nmd.323 715 .106.0.pdf.
23   This case was not a SOX whistleblower retaliation case. Instead, the Plaintiff brought the fol­
     lowing claims: Count I : Violation of the New Mexico Minimum Wage Act; Count II: prima
24   facie tort (based on the tennination of Plaintiffs employment); Count III: Violation of the
     New Mexico Human Rights Act; Count IV: Violation of the Pregnancy Discrimination Act.
25   [Doc. 1-1 , pp. 9-1 3] Only Plaintiffs fomih claim, for violation of the Pregnancy Discrimina­
26   tion Act, presents a question of federal law. Defendants removed this case on the basis of
     Count IV pursuant to 28 U.S.C. § 1 331 and 28 U.S.C. § 144 1 . [Doc. l , � 3]it was a pregnancy
27   discrimination case where the Plaintiff placed her medical condition at the center of the law­
     suit. The Plaintiff put her health at the center of the lawsuit. While Huynh didn't, especially
28   after Huynh dropped all of deRubertis nefarious and frivolous FEHA Claims.
                                                         150
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 1   based upon the fact neither of these individuals were identified as potential witnesses in Plain­
 2   tiffs Rule 26 disclosures, related to in the case". Thus, it had nothing to do with a motion to
 3
     quash a spouse from being depose. As matter of fact this case should further support Huynh's
 4
     position that because Huynh never listed his wife as someone who had knowledge about his
5
     level of emotional distress: Walmart should have never been allowed to force Huynh's wife to
 6
 7    take the deposition.

 8           272.    The RJCO Defendants cherry picked 1 3 3 pages out of the 330-page transcript

 9    that contains the most damaging information to falsely portray Huynh as mentally ill, prone to
10    violence, morally corrupted (e.g. , the RICO Defendants falsely accused Huynh of sexual har­
11
      assment, dishonesty, and slimy person who blew the whistle for personal gain). For example,
12
      to support of Walmart's Motion for Summaiy Judgement, the Rescue Squad filed Huynh's
13
      medical records without the confidentiality designation to effectuate prong #2, #3, and #6 of
14
15   the illegal coverup scheme (DC Dkt. 119-8 Defs' Ex. 8). See DC Dkt. 156 to 1 60. Addition­

16    ally, the Rescue Squad filed the 133-page negative dossier as DC Dkt. 1 19-19 (Defs ' Ex.
17    1 27). Ex. 127 was filed as one of 24 Walmart's Exhibits under DC Dkt. 1 19. However, in
18
     order to make the 133-page negative dossier more visible and easier to discover by the public
19
      and the media, the Rescue Squad purportedly refiled Ex. 127 separately under DC Dkt 123-1
20
      under the pretext of updating DC Dkt. 119-19.
21
22
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28
                                             151
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 1                    Fabrication, Destruction, Mutilation, and Concealment of Evidence
 2
                      273 .                 Starting in Mid-20 17, Huynh provided deRube1iis with ove1whelming evi­
 3
     dence and analysis which proved that Huynh made prima facie case showing for this
 4
 5    SOX retaliation claim against Walmart. Below is a summary of the analysis.

 6
          The RICO Defendants' Three-Pronged Strategy to Crush Huynh's SOX Case
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                                  Events
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16      Beal issued Huynh a .Vague                                                                                                                   tal i ation execule the '·Nm & Slut " <l cti: n ·e
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        bogus written warning letter.                                                        :               :               ;                :                :           to pro\"c 1hat Huynh didn'1 engaged
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         H uynh for the prelimi n ary RIF                                                              :                :                  :             .... '                      :. ,........��----,.,.          ----., 1



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24      Beal fired Huynh 14 days                                                               Concealed ev idence that prove :                    :                                                                                1
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26     Walmart's Jan 24)017 RIF                                                                        ,                       .:                  :                     :      14
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                                                                    COMPLAINT - DEMAND FOR JURY TRIAL
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 1                 274.        Furthermore, Huynh proved to David deRubertis that Huynh's role was
 2   not eliminated because his Business Development team was moved under Michael Trem-
 3
     bley, one of Huynh's peers, several hours after Seth Beal tenninated Huynh's employ-
 4
     ment on Jan 10, 2017.
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         On Jam,mry 10, All of 'Tri'fi Direct Report \v'crc Mewed U n d e r l\>1ich:H.• I Trc1nblcy O.rganization
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         Michael Trembley c;fidn't have any BO experience
11   :   (He was a c;firecior of IT that moved to Marketplace
     , • 3 Others Directors anc;f the VP of Service had
         extremely low span of control and non-essential
12       function like planning was not design out of the
         or9aniwtion
     : • When Tri's team asked Michael Trembley at the BO              ,
13   1   team meeting on January 1 3, 20 1 7 on his vision and         1
     : direction for the BO team in FY 1 8. He Said ·1 know            :
         nothing about BO and only been on the job for l\vo            1
14   1 days)
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 1           275 .   David deRube1tis leaked Huynh's confidential information to the other
2    RICO Defendants. This triggered the Rescue Squad, David deRube1tis, Payne & Fears,
 3
     Seth Beal, Valerie Ricetti Melvenia Ha, Audrey Au, Doug Kasales, Kathy Vonlindern,
 4
     Renee Quezada, and others to engage in a systematic patterns of evidence fabrication, de­
 5
     struction, mutilation, and concealment as well as filing false declarations to asse1t
 6
 7   Walmart's misleading affirmative defense in four ways.

8
             276.    First, Seth Beal acted in concert with Rescue Squad to fabricate Beal's
 9
     11/30/16 and the purpo1ted Marketplace RIF list then submitted them to OSHA in Sept
10
11    2017 in support of Walmart's OSHA position statement. deRubertis emailed Huynh

12    Walmart's OSHA position statement in late Sept 2017. In the email, deRubertis purport­

13   edly told Huynh that Huynh had no case against Walmart50 for two reasons. First, Seth
14
     Beal had already selected Huynh for the RIF on 11/30/16 which were weeks before
15
     Huynh raised his complaints to Walmart's senior executives. Second, Huynh didn't en­
16
     gage in protected activity in early Oct 2016 because he raised his complaint orally instead
17
18   of email. To enable deRubertis to effectively response to Walmart's AOSH position

19   statement, Huynh immediately emailed deRubertis his analysis and supporting evidence
20   which proved that Walmart fabricated Beal's 11/30/16 email and the Marketplace
21
     11/30/16 RIF for two main reasons. First, Beal's 11/30/16 email refened to the DSO
22
23
24

25   50 BTW, you'll notice they did exactly what I told you they would do in our first meetings. I
     knew the "we laid him off right after learning of the fonnal ethics complaint" theory of your
26   case was too good to be true. They say and show a late-November 2016 email from Beal
     listing you on the RIF list at this time. Shows why my initial point to you was right on -­
27   the protected activity needs to focus on what happened in October more so than December.
     Anyway, let us know if Monday works and if so when.
28
                                             154
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1    Group (Digital Store Operations) not the Marketplace Group but Beal purportedly at­
2    tached to the Marketplace RIF list to his email in an attempt to put a date stamp of
 3
     11/30/16 on the Marketplace RIF. Second, for Beal to have created the RFI list for the
4
     Marketplace group Beal must at least have the pre-calibration ratings inputs for all of the
5
     Marketplace employees from their managers. However, the pre-calibration list for the
 6
 7   Marketplace Group was not completed until late after 12/13/16.

 8
            277.    Despite overwhelming evidence of document fabrication, deRubertis was
 9
     not interested in talking to Huynh regarding his analyses. Subsequently, Huynh asked
10
     deRubertis how would he prove the authenticity of Beal's document. deRubertis' answer
11
12   was he will made W almart produce metadata during discovery.

13
            278.    Fast forward a year later, both parties completed their document produc­
14
     tions as dictated by GO 71 in late Sept 2018 . Huynh immediately emailed deRubertis to
15
     ask him to confirm the authenticity of Beal's documents. deRubertis repeatedly avoid an­
16
17   swering Huynh's question regarding the authenticity of Beal's documents.

18                                     No System Metadata for You
19
            279.    Despite being put on notice that Walmart engaged in document and evi­
20
     dence fabrication, deRubertis conspired with the Rescue Squad (Boutros, Scalia, Brass,
21
22   and Stewart) to exclude system metadata fields from the Joint Stipulation ESI Order (DC

23   Dkt. 36) in order to obstruct Huynh from authenticating Beal's documents as well as any
24   other documents that Walmart subsequently produced to Huynh.
25
            280.    Between June and July 2018, Garen Nadir communicated with the Rescue
26
     via email at least six instances (See DC Dkt. 161-2) to purportedly negotiated the ESI
27

28
                                                      155
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 1   Joint Stipulation Protocol to covernp the facts that the RICO intentionally excluded sys­
2    tem metadata fields to obstrnct Huynh from proving the authenticity of Walmart's docu­
 3
     ment to defend himself against Walmart's motion for summary judgement. See DC Dkt.
4
     95-3 for purpo1ted discussions about ESI Protocol, Protective Order, and GO 71 to create
5
     paper tails to covernp the fact that the RICO Defendants acted in conceits to effective the
 6
 7   WSF Enterprise's illegal covernp scheme).

8            28 1 .   The Chart below showed that system metadata fields were required in
9
     most Joint Stipulation ESI protocol orders. However, the RICO Defendants acted in con­
10
     cert to intentionally exclude them from the ESI Joint Stipulation Protocol order in
11
     Huynh's case.
12
13           282.     The links below pointed to ESI Joint Stipulation Protocol Orders issued by
14   United States District Judges and Magistrate Judges at the United States District Court in
15
     California. All of these ESI Joint Stipulation Protocol Orders listed system metadata
16
     fields as required metadata fields. Therefore, it made no sense whatsoever for deRubertis
17
     to intentionally leave out the system metadata fields in Joint Stipulation ESI Protocol.
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23                                                              Who, What, and When?

24                 283.     System Metadata reflects information created by the user or by the organiza­
25    tion's info1mation management system." Sedona Principles 2d Cmt. 12a. This data may not
26    be embedded within the file it describes, but can usually be easily retrieved from whatever

27    operating system is in use. See id. Examples of system metadata include data concerning                                                                              11




     the author, date and time of creation, and the date a document was modified." Md. Protocol
28
                                                          157
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1    26. Courts have commented that most system (and substantive) metadata lacks evidentiary
2    value because it is not relevant. See Mich. First Credit Union v. Cumis Ins. Soc'y, Inc., No.

 3   Civ. 0574423, 2007 WL 4098213 , at *2 (E.D.Mich. Nov.16, 2007); Ky. Speedway, LLC v.
     Nat'l Assoc. of Stock Car Auto Racing, No. Civ. 05-138, 2006 WL 5097354, at *8 (E.D.Ky.
4
     Dec. 18, 2006); Wyeth v. Impax Labs., Inc., 248 F.R.D. 1 69, 1 70 (D.Del.2006). System
 5
     metadata is relevant, however, if the authenticity of a document is questioned or if estab­
 6   lishing " who received what information and when " is important to the claims or de­
 7   fenses of a party. See Hagenbuch v. 3B6 Sistemi Elettronici Industriali S.R.L., No. 04 Civ.
 8   3109, 2006 WL 665005, at *3 (N.D.Ill. Mar.8, 2006).

 9                                          Timing of Knowledge
10              284.   System metadata is often used to Discover "who knew what when"
11
     through creation dates, author, dates modified, etc. Example: Chevron Corp. v. Stratus
12
     Consulting, Inc., No. 1 0-CV-00047MSK-MEH, 2010 WL 3489922, at *4 (D. Colo.
13
     201 0) (employment lawsuit in which the timing documents were authored "was a critical
14
15   issue").

16
                                  If at First You Don't Succeed Try Again !
17

18              285.   Based on the face of documents produced by Walmart in late Sept 201 8
19   alone, Huynh concluded beyond reasonable doubt that Beal' s 1 1/30/1 6 Email and the
20
     Marketplace 11/30/16 RIF lists that Walmart submitted to OSHA in Sept 2017 were fab­
21
     ricated. The chart below showed that in Sept 201 7, Walmart used Seth Beal's 1 1 /30/16
22
     email and the purported Marketplace 1 1 /30/ 1 6 RIF list as Exhibit C to support Walmart's
23
24   OSHA position statement (on the left side of the chart below). Upon close inspection

25   Huynh noticed that Beal's email didn't have an excel file attachment (i.e., the Market­

26   place 1 1 /30/16 RIF list). A year later in late Sept 2018, Walmart produced a revised ver­
27
     sion of Beal's 11/30/16 email. However, this time Walmart attached two excels files (the
28
                                                158
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 1   Marketplace and DSO RIF Lists) to Beal's 1 1 /30/16. The Rescue Squad with the assis­
 2   tance Renee Quezada, project manager at Lighthouse Global, fabricated a new version of
 3
     Beal's documents in an attempt to cover up the fact that Walmait submitted fabricated
 4
     documents to OSHA in Sept 2017.
 5
 6    The RICO Defendants Attached both the Marketplace and DSO 1 1/30/1 6 RIF Lists to Purportedly
      Coverup the SNAFU They Made Their Original Fabrication in Sept 2017.
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25                        286.            Additionally, at the direction and instruction of the Rescue Squad and the
26   Walmart's participants Seth Beal and Valerie Ricetti submitted false declarations to
27
     sworn that Beal's 11/30/16 and the Marketplace RJF were authentic when they were not.
28
                                                                                 159
                                                                 COMPLAINT - DEMAND FOR JURY TRIAL
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 1   See Seth Beal's Declaration (DC Dkt. 171-1 at 13 ,i 63) and Valerie Ricetti Declaration
 2   (DC Dkt. 117-2 at 9 ,i 47). Even though Rachel Brass and Ryan Stewart knew that these
 3
     documents and declarations were false, they filed them anyway with the United States
 4
     District Comi, No1ihern District of California to obstruct justice.
 5
 6             287.    Additionally, the Rescue Squad, Seth Beal, Valerie Ricetti, and Renee

 7   Quezada manufactured the following documents and files false declarations to purport­
 8   edly sworn the authenticity of these documents to supp01i Walmart's motion for sum­
 9
     mary judgement.
10
11
        1.       Email dated 9/29/16 from one of Huynh's peers which purpo1iedly triggered
                 Melvenia Ha to investigate Huynh for the bogus sexual harassment charge -
12               Walmart's Exhibit 45 DC Dkt. 115-11
                 Beal's 11/30/16 Emails and the attached DSO and Marketplace RIF -
13
       11.
                 Walmart's Exhibit 15 - DC Dkt. 114-15.
14    iii.       Ricetti's purported 12/14/16 email and the attached Marketplace 12/14/16 RIF
                 list - Walmart's Exhibit 60 DC Dkt. 115-26
15
16
17               Supersize PDF Is the All You Can Eat Buffet for Fabricators and Cheaters

18
               288 .   The article cited below (https://www.bernsteinshur.com/what/publica­
19
     tions/the-e-discovery-field-guide-8/) discussed ESI production deficiencies in the context
20
     of Supersize PDF files produced during discovery in violations of F.R.C.P Rule 34 i.e., a
21
22   paiiy is required to produce documents (1) "as they are kept in the usual course of busi-

23   ness.

24
             Background
25
26       In a relatively straightforward business dispute, a central issue in the case was
         whether the plaintiff had effectively terminated a certain agreement with the de­
27       fendant. In response to the plaintiffs discovery requests, the defendant produced
         over 1,000 pages of documents, including various contracts, invoices, letters, and
28       e-mails. The documents were produced in a single PDF with no bookmarks or
                                                       160
                               COMPLAINT - DEMAND FOR JURY TRIAL
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 1      other differentiation for where one document ended and the next began. No
        metadata was produced.
 2
        Problem #1 : Production Formats and Federal Rule of Civil Procedure 34
 3
 4      Metadata is data about data. For example, in a Word document, the metadata will
        provide infonnation about the author or creator, creation date, and file name. In an
 5      e-mail, the metadata will provide the parties to/from/cc'd on the e-mail, the e-mail
        subject, and the sent date. All of this metadata may be relevant to the legal issues
 6      in a case, and the metadata also serves an additional function: it allows for efficient
        and organized review of a large document production in a database. However, a
 7      PDF production-especially a production where every document is combined
 8      into a single PDF-excludes critical (meta)data about the documents and
        makes searching and sorting electronically impossible. This directly leads to more
 9      time, more expense, and a less efficient E-discovery practice. For these reasons, a
        PDF production without metadata is rarely sufficient-and the receiving
10      party should almost certainly not accept it without a fight.
11      In addition, a PDF production of electronically stored information (ESI) without
12      metadata also fails to comply with the Federal Rules. Under Federal Rule of Civil
        Procedure 34, a party is required to produce documents ( 1 ) "as they are kept in the
13      usual course of business or must label them to correspond to the categories in the re­
        quests," Fed. R. Civ. P. 34(b)(2)(E)(i), and (2) if a request does not specify a form of
14      producing ESI, "in a form or forms in which it is ordinarily maintained or in a reason­
        ably usable form or forms," Fed. R. Civ. P. 34(b )(2)(E)(ii). Of course, an opposing
15      party may request a production in PDF format, viewing it as its preferred "reasonably
16      usable fom1." See Fed. R. Civ. P. 26(f)(3)(c) & 34(b)(2)(E). If so, the producing patty
        may oblige but, absent such agreement, the format likely is not adequate.
17
        •   A party who opts to produce documents as maintained in the usual course of busi­
18          ness must actually produce the documents that way. A production of e-mails in
            PDF format violates this obligation because a PDF is not how an e-mail is
19
            used or kept in the ordinary course -but rather involves converting the e­
20          mail into a non-ordinary course format. See Johnson v. Italian Shoemakers,
            Inc., 201 8 WL 5266853, at *2 (W.D.N.C. Oct. 23, 20 1 8) (awarding sanctions
21          where party continued to produce e-mails as PDFs, "which is not how emails are
            maintained in the regular course of business"). Further, a single PDF combining
22          multiple separate documents also violates this obligation because such docu­
23          ments were not maintained or compiled that way in the ordinary course of
            business. Indep. Mktg. Grp., Inc. v. Keen, 201 2 WL 207032, at *2 (M.D. Fla.
24          Jan. 24, 201 2) (producing party failed to produce documents as ordinarily
            kept where it printed documents and scanned them, rendering PDF files
25          only). Again, a PDF production fails this obligation by limiting-if not com­
            pletely eliminating-the ability to search and sort documents, as a proper produc­
26          tion format would allow.
27
        Problem #2 : Document Manipulation
28
                                              161
                             COMPLAINT - DEMAND FOR JURY TRIAL
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 1           289.   Another problem with attempting to manually convert a set of native doc­
 2   uments into PDFs is the risk of manipulating the metadata-and the actual contents

 3   of the documents. Each time a document is opened, the metadata for that document is
     changed. For example, when an e-mail is forwarded by a party to its attorney and then
4
     printed, the metadata of that e-mail is first altered (e.g., adding a new recipient to the e­
5
     mail) and then completely lost by the PDF'ing process. The receiving paiiy is entitled to
 6   rely on accurate, complete metadata for its review and prosecution of the case, and
 7   changes to the metadata create a misleading story of what actually happened. Per­
 8   haps even more concerning, the actual substance of documents or e-mails themselves

9    may be changed along the way. For instance, the attorney or paralegal who opens an e­
     mail may accidently delete part of the e-mail, fail to save an attachment, or add new text
10
     to the e-mail. And, as happened in the situation at hand, opening a Word document can
11
     change the contents of the document, such as when an automatic date field is updated,
12
      changing the critical purported sent date in the header of a letter to a later date re­
13   flecting when the letter was accessed in discovery. When that document is later pro­
14   duced as a PDF, the falsely updated date remains, an entirely new document is cre­

15   ated, and the original document lost.

16           290.   The RJCO Defendants used the "Supersize" PDF strategy highlighted

17   above to manufacture Walmart's purported Global and Ethics Investigations Reports.
18
     R# 1: Walmart' s purported investigation into the false sexual harassment charges against
19
     Huynh. #2: Walmart's purported investigation into Huynh's complaint that Beal mis­
20
     treated him because of his ADHD. #3 : Walmart's purported investigation report into
21
     Huynh's complaint that Walmart committed fraud against shareholders. These reports
22
23   were manufactured after the facts to provide a post hoc justification for why Walmart

24   shut down the investigation into Huynh's shareholder fraud complaint after it was opened
25   for only three days.
26
             291.   Report # 1 was manufactured to falsely accuse Huynh of sexual harassment
27
     in order to portray Huynh as "Slutty" while investigation report #2 was manufacture to
28
                                                        1 62
                              COMPLAINT - DEMAND FOR JURY TRIAL
     Case 3:22-cv-00142-JSC Document 1-1 Filed 01/10/22 Page 63 of 100




 1   portray Huynh as mentally ill and dishonest because his complaints against Seth Beal for
2    ADHD discrimination was not substantiated. Lastly, investigation repmied #3 was man­
 3
     ufactured to purpo1iedly prove that Walmaii didn't conduct a detail investigation into
4
     Huynh' s shareholder fraud complaint because based on report # 1 and report #2 Huynh
5
     was not a credible whistleblower. See COA Dkt. 1 6 (Huynh's opening brief) page 28-39
 6
 7   for detail discussion.

 8          292.     After Huynh fired deRubertis, Huynh requested him to return all of
9
     Huynh's client files, specifically Huynh asked deRube1iis to return the documents that
10
     Walmart produced to the deRube1iis Law Firm in late Sept 20 1 8. After Huynh's repeated
11
     attempts, David deRubertis eventually FedEx him a monster size PDF file that contained
12
13   roughly 3 ,700 pages of documents without any accompany metadata. To make matter

14   worse, David and Kari deRubertis intentionally made the PDF file non searchable to ob­
15   struct Huynh from using them against Walmart.
16
             293 .   Between Feb and Mar 20 1 9, deRubertis and Lindern used email to repeat­
17
     edly attempt to transfer the Epiq's account ownership from deRubertis to Huynh's name
18
19   to obstrnct Huynh from having access to documents and metadata to effectuate prong #3

20   of the illegal coverup scheme. Huynh was able to get the Epiq Global Account for the
21   Huynh's litigation transferred under Huynh 's name in late Mar 20 1 9. Subsequently,
22
     Huynh was able to obtain the metadata for the 3 700 pages of the monster size PDF file
23
     that deRubertis produced. However, the metadata led Huynh to discover that David and
24
     Kari deRubertis, Kasales, and Lindern conspired to suppress about 400 pages of docu­
25
     ments that Walmaii had produced in late Sept 20 1 8.
26
27
28
                                                     1 63
                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1              294.     The chart below showed that on 9/19/201 8 , Walmart produced four Super­
2    size PDF files (Item # 1, #2, #5 , and #6) to David deRubertis. Huynh defined a Supersize
 3
     PDF file as a file that contains multiple native files inside of it but provides no metadata
 4
     for these native files.
 5
 6           Superslze PDF Flies - Walmart's Purported Global Ethic and Compliance Investigation Reports
                                                    Doq1                            File
 7     Item ProdBo
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28
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                                      COMPLAINT - DEMAND FOR JURY TRIAL
     Case 3:22-cv-00142-JSC Document 1-1 Filed 01/10/22 Page 65 of 100




 1            295.     Item #1 and #3 is Walmart's Global Ethic purpmied ADHD investigation
 2   repo1i had no file name, file extension, document type and document date metadata
 3
      fields. In essence Walmart produced this 174-page ADHD investigation report in a Su­
 4
      persize document by treating it a document from hard copy source as defined in the Joint
 5
      Stipulation ESI Protocol (DC Dkt. 36).
 6
 7
 8            Case 3 : 18•CV·01631NC Document 36 Filed 09/11/18 Page 7 of 15
       Documents from hard copv sou rces
 9
               The parties w i l l produce documents originating from hard copy sources ("Hard Copy
10
       Documents") and attachme nts i n Group IV single-page TI FF format: (black and wh i te, 300 dpi) 1
11
12     with corresponding scarchab1c OCR text along with the below-listed metadata fields when

13     avai labl e. The part ies w i l l provide a standardi.zed load file compatible with Concordance and with

14     a Bates number licld i ncl uded i n the load file to match text and mctadata with TIFF i mages. With

15     respect to Hard Copy Documents, data on the, load li te w i l l i ncl ude:
16                     a.      13cginning Do<.:un,cnt Bates Number
                               Ending Document Bates Number
                               13egi nning Fami ly Bates N umber ( begins with P1 page of parent )
                       b.
17                     e.
18
                       d.      Ending Fami ly Bates N umber
                       C.      Custodian or Source
19                             Confidential ity Desi gnation
                       g.      Page Coun t
20                     h.      Redaction ( Y/N )
                       i.      Text File Name with extensi.on
21                     j.      Text File Path, i ncluding fi lename Hnd extcn::;ion ( mu::;t be a :-;cparate field
                               from i tem i)
22
              296.     Although item #1 and #3 are supposed to be the same report one had 179
23
     pages while the other had 174 pages. This investigation report was later filed as
24
     Walmart's Exhibit 99 to support Walmart's motion for summary judgement. Likewise,
25
26    item #5 and #6 are supposed to be the same investigation report but one had 14 pages

27    while the other had 10 pages.
28
                                                 165
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 1
                 297.      In early Feb 2019, Huynh emailed the Rescue Squad to put them on no­
 2
 3   tices that Walmart didn't produce the metadata fields for the four documents above.

 4   Shortly after Huynh's email, the Rescue Squad acted in concert with Renee Quezada to

 5   produce revised versions of item #2 and #4 to purportedly address the missing metadata
 6   fields in order to conceal the facts that Walmart original produced these monster sized re­
 7
     ports as paper format reports (i.e., Walmart scanned the individual fabricated document
 8
     from paper source then merged them together into a Supersize PDF file to remove system
 9
     metadata for the individual documents conceal the fact that Walmart fabricated their Eth­
10
11   ics investigation reports). It's also worth mentioning that although #2 and #4 supposed to

12   be the same ADHD investigation report they had different name, different document

13   dates.        In summary, the analyses above proved that the RICO Defendants manufactured
14
     Walmart's purported Global Ethics investigation reports by fabricate individual docu­
15
     ments then amalgamated these documents into a Supersize PDF file to support the RICO
16
     Defendants' false narratives that Walmart shutdown the investigation into Huynh's share­
17
18   holder fraud complaint after three days because Huynh was too "Nutty" and "Slutty" to

19   be a credible whistleblower.

20      frQm:                Hen�, lcis • OSK� <HalfY1oil�otgov>
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23                                            The investigation into Huynh1s


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27      OSK�R11ion � ro� Coordinator it was classified as "Priority C.                                         A!t911loo                           Coil                                          Primll)
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28
                                                                 166
                                                COMPLAINT - DEMAND FOR JURY TRIAL
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 1                 298.           In late Nov 2018, deRube1iis FedEx Huynh roughly 3,700 pages of docu­
 2   ments that he purp01iedly claimed that he had received from Walmart in Sept 2018.
 3
     However, by early Febrnary 2019, Huynh discovered that David and Kari deRubertis,
 4
     Kasales, Lindem, and the Rescued Squad acted in conceit to withhold roughly 400 pages
 5
     of documents from Huynh. Below is an excerpt from the letter Huynh sent to Rachel
 6
 7   Brass regarding the missing documents.

 8                                                                                                       •     At least 386 pages were missing from the documents produced by Walmart (Excluding
                                                                                            Tri Huynh          Attorney Eyes Only). See the table below.
 9                                                                                  4015 134th Ave SE
                                                                                                             Missing Pages From Walmart Produced Documents
10
                                                                                   Bellevue, WA 98006
                                                                                                             BegSatcs        End8ates          # of Pages   Remarks
                                                                                     Tel. 408.757.5516
                                                                                                                                                    11      At.torney Eyes Only
11     February 11, 2019
                                                                                                             WM0000590       WM0000600
                                                                                                                                                    4
                                                                                                                                                    21
                                                                                                             WM0000644       WM0000647                      Attorney Eyes Only

12    VIA ELECTRONIC MAIL
                                                                                                             WM00001530      WM00001550                     Attorney Eyes Only
                                                                                                                                   Total            36
13                                                                                                                                                   I
                                                                                                                                                    2
                                                                                                             WM0000658       WM0000658                      Missing
       Rachel S. Brass
                                                                                                                                                            Missing
14     Gibson, Dunn & Crutcher LLP
                                                                                                             WM0000660       WM0000661
                                                                                                             WM0000676       WM0000678              3       Missing

15
       555 Mission Stre�t, Suite 3000                                                                        WM0000769       WM0000771              3       Missing
                                                                                                             WM00003323      WM00003422            100      Missing
      San Francisco, CA 94105-0921
                                                                                                             WM00003621      WM00003729            109      Missing
16                                                                                                           WM00003934      WM00004101            168      Missing after WM00003934
                                                                                                                                total              386
17     Re:      Huynh v. Wal•Mart Stores, Inc. et al., Case No. 3:18-cv-01631•VC
                                                                                                                                Total              422

18
19                 299.           The missing documents were related to Walmart's purported investiga­

20   tions into Huynh's shareholder fraud complaint and other material facts such as email
21   communications between Marc Lore and other Walmart's executives affirming the seri­
22
     ousness of Huynh's shareholder fraud allegations. The RICO Defendants withheld these
23
     documents to effectuate prong #2 and #3 of the illegal coverup scheme.
24

25                 300.           On Feb 12, 2019, the Rescue Squad acted in concert with Renee Quezada

26   to produce the missing documents to Huynh directly to address Huynh's complaint.
27
28
                                                                    167
                                                    COMPLAINT - DEMAND FOR JURY TRIAL
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1    There were four Supersize PDF files (Item 4# 7 to 10) for the same purported investiga­
2    tion report into Huynh's complaint regarding Walmart's fraud against shareholders.
 3
     Even though, these repmts were supposed to be the same they had different names and
 4
     page count #. This further proved that the RJCO Defendants manufactured Walmart's
 5
     Global Ethics and Compliance investigation repmts in order fit Walmait's false nairn-
 6
 7   tives.

 8            301.   Using the Supersize PDF file strategy above, Audrey Au manufactured a
 9
     fake investigation report to substantiate Seth Beal' s false allegations of sexual harassment
10
     against Huynh then submitted false declarations Au Deel. ,r,r 25, 29, 30, 31, 32 to testify
11
     that the repm1 is authentic (Walmait's Exhibit 99). See COD Dkt. 16 (Huynh's Opening
12
13   Brief page 28-39 for detail discussion. Audrey Au manufactured this report by amalgam­

14   ating Melvenia Ha's fake Oct 5 HR investigation reports which were based on Melvenia
                                                                                                                                              ,,
15
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 1    Ha's fabricated Oct 4 and Oct 5 interview notes. In order to cover up the fact that
2    Walmart's Exhibit 99 was fabricated, the Rescue Squad redacted multiple pages the re-
3
     port to conceal evidence of fabrication.
4
                          302.          Furthermore, Audrey Au also amalgamated many individual documents
 5
 6    from multiple sources to manufacture the 174-pages ADHD investigation report and the

 7
                                                    Case 3:18-cv-01631-VC Document 76-1 Filed 06/03/19 Page 3 of 4
8
 9                               Exhibit A: Information In Scope of the Protective Order (50 Pages)
10   Item      Bales        Page Dalc(s) Document                        Aulhor(s)                          ReclplenUDislnbulion                                                          Subject Matter
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25                                                      Aooiey Au, Sooi<x Ma,oorn1r1�tigar"' l'l�mrul G!oo� Et,:s OisrmJoo u,11100,           Walmart eCon111ercc U.S, regarding Plaintiffs Elhics Compla:nl (l2/20i2016) and his l/4.t2017 ermil
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                                                            COMPLAINT - DEMAND FOR JURY TRIAL
     Case 3:22-cv-00142-JSC Document 1-1 Filed 01/10/22 Page 70 of 100




 1    54 to 114 pages shareholder fraud investigation report. It's worth to link the fabricated
 2   Walmart's Global Ethics investigation repo1is above to the 65-page confidentiality desig­
 3
     nation disputes.
 4
 5               303.   The chaii above showed that the disputed item #12 to #14 are individual

 6   native files amalgamated inside of the Supersize PDF ADHD investigation reports while

 7   the disputed item # 15 to #22 are individual native files amalgamated inside the share­
 8    holder fraud investigation report. The Rescue Squad made two misleading arguments to
 9
     support their position to keep the confidentiality designation on these non-confidential
10             Case 3 : 18-cv-0 1631-VC Document 82-1 Filed 07/02/19 Page 10 of' 16
         From:                               Wilson, Chris < CWilson@gibsondunn.com>
11       Sent:                               Monday. April 1 S, 2019 2:00 PM
         To:                                 Tri Huynh: Brass, Rachel S,
12       Cc:                                 Stewart, Ryt1n C,; Schueimmn, Sus.:innt1 G.
         Subjec;t:                           RE: Huynh v Walmart • Availabilities for 3 meet and confer call to d iscuss the
13                                           issue of confidentiality designation removal
         Attachments:                        Huynh ESI Protocol Order Joint Stipulation • For Flling.pdf; Ex. A - ESI Protocol
14                                           Agreement.pdf

15
         Mr. Huynh,
16
         As we discussed, attached please find the ESI protocol <Jpplicable to this litigation, As we pointed out duri ng
17       our call on April 1 5, section 9 of the Protocol provides that parties can produce only a single copy of ident ical
         ESI. We al. s o note that sections 2 and 5 requi re the parties to make a confidentiality designation as it applies to
18       an e nt ire document as opposed to selected pages of documents. This prevents the Defendants from
         producing the same document twice with conflicting confidentiality designations or designating specific pages
19       of otherwise confidential documents as non-confidential.

20      Sepa rately, Fed. R. Civ. P. 34(b)(2)( E)(i) requi res t ha t parties "produce documents as they a re kept in the usual
        course of business." This prevents Walmart from breaking up a single document in its files i nto confidential
21      a nd non-confidential portions for discovery purposes. While Defenda nts' confidentiality designations may
        present a perceived inconvenience to you, a s we noted during our call, t hey do not .i nterfere with your use of
        documents i n d iscovery, such a s d uring depositions or i n other settings that do not require the documents to
22      be placed in the public record. Should dlspositive motion practice become necessary in this litigation,
        Defendants are willing to discuss whether individual pages of documents need to be filed u nder seal. As we
23      discussed on the call, we a re happy to set a call for late June or early July to discuss such redactions, or to set a
        time between Defendants' filing of any motion and your deadline to reply, .so that you can focus you r efforts
24      on material that is responsive to any motion actually filed.
25      Thanks,

26       Chris Wllsoo
     native files. First, they argued that event though these individual documents may not be
27
28   confidential as standalone documents but because they lived inside of the Supersize PDF
                                                   1 70
                             COMPLAINT - DEMAND FOR JURY TRIAL
     Case 3:22-cv-00142-JSC Document 1-1 Filed 01/10/22 Page 71 of 100




 1   file which is classified as confidential. Therefore, these native files are protected under
 2   the "Protective Order (DC Dkt. 38). Second, they argued that Walmart could not remove
 3
     the confidentiality designation of these native files because Walmart stored all of these
 4
     natives file inside the Supersize PDF file investigative report as they are kept in the usual
 5
     course of business. See DC Dkt. 75 for Huynh's rebuttals to the argument above.
 6
 7           304.   Additionally, Huynh also emailed a letter to District Judge James Donato
 8    on June 24, 2019 seeking Judge Donato's help to refer the Rescue Squad to the Standing
 9
     Committee on Professional Conduct to investigate and take appropriate actions against
10
     their violations of the California Rules of Professional conducts. See DC Dkt. 82.
11
12           305.   With regard to the Rescue Squad's argument that the Supersize PDF in­

13    vestigation report was how Walmaii kept their Whistleblower investigation reports as
14   they are kept in the normal course of business was false and misleading.
15
             306.   The Walmart's Global Ethics and Compliance Investigation System is
16
17   power by the sophisticate NAVEX Global Ethic and Compliance Technology Platform.

18   As showed in the chart above, the NAVEX Compliance and Ethics Platform stores indi­

19   vidual files generated during the course of an investigation in their native format. So, for
20   example, Melvenia Ha's purported Oct 5, 2016 HR investigation report and Oct 4, Oct 5,
21
     and Oct 16 interview notes should have been store in its Microsoft Word native file for-
22
      mat. In short, the true reasons behind the RICO Defendants' repeated refusals to remove
23
     the confidentiality designation for only 64 pages of non-confidential documents was be­
24
25   cause the RICO Defendants attempted to conceal the facts that the Global Ethics and

26   Compliance investigative reports were manufactured to mislead the SEC and/or the DOJ
27   into believing Walmart's spoke person statement which purportedly claimed that
28
                                              171
                             COMPLAINT - DEMAND FOR JURY TRIAL
     Case 3:22-cv-00142-JSC Document 1-1 Filed 01/10/22 Page 72 of 100




 1   Walmart had investigated Huynh's shareholder fraud complaint but found nothing im­
 2   proper.
 3

 4
 5
        um                       Case Number: GCPMT-17-02-0006

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                                                                                           9.8 ATTACHMENTS
          Case Vitals
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     Case 3:22-cv-00142-JSC Document 1-1 Filed 01/10/22 Page 73 of 100




1                                     Destruction of Evidence: Beal's Meetings on Oct 4 and 1 8, 2017
2                    307.             The chart above to show David deRubertis, Kari deRubertis, Nadir,
 3
     K.asales, and Lindem acted in concert (at the instruction and direction of the Rescue
4
     Squad) to mutilate and destroy Huynh's outlook calendar appointments that proved
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     Huynh with met Beal on Oct 4 and Oct 18, 2016.
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     Case 3:22-cv-00142-JSC Document 1-1 Filed 01/10/22 Page 74 of 100




1                                                               The Phantom Oct 17 Interview
2                308.           The evidence below proved beyond reasonable doubt that Melvenia Ha
 3
     acted in concert with the Rescue Squad, Renee Quezada, and others to fabricate her Oct
4
     17 interview note with Huynh, filed as Walmart's Exhibit 66 in support of Walmart's
 5
     motion for smrunary j udgement, to purportedly prove that Beal didn't retaliate against
 6
     Huynh on Oct 18, 2016. Additionally, at the direction and instmction of the Rescue
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 8             .I. 1\ff R\'1[11' Defs Ex 67 (DC 0kt. 116·4)                                  flO(II:
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 1   Squad and the Walmart's Participants Melvenia Ha also submitted false declaration under
 2   oath with the United States District Court of the District of Northern California to pur­
 3
     po1tedly claim that her 10/17/16 interview note was authentic. DC Dkt 116 at 3                                                                              ,r 10.
 4
 5                  309.            Similarly, Melvenia Ha also manufactured the following documents and
 6   submitted false declarations to purportedly sworn to their authenticity in order to supp01t
 7
     Walmart's motion for summary j udgement.
 8
 9       1.             Oct 4 interview note: Walmart's Exhibit 64 - DC Dkt. 116-1.
        ii.             Oct 5 interview note: Walma1t's Exhibit 65 - DC Dk. 116-2
10
      lll.              Oct 5 , 2016 purported HR investigation report to falsely accuse Huynh of sexual
11                      harassment -Walmart's Exhibit 94 - DC Dkt. 118-2 at 8-11.
12     IV.              Oct 18, 2016 Final HR investigation report to falsely accus Huynh of sexual
                        harassment.
13
14                  3 10.           David and Kari deRubertis, Kasales (See DC Dkt. 161-3) and Lindern

15   acted at the directions of the Rescue Squad to mutilate the time and date of the documents

16   (Emails and outlook calendars) Huynh produced to Walmart in late Sept 2018 by using
17
18    from: triwyn@gmail.com <lri11�n@gmail.com>
      Sent: friday, October JS, 2019 11:0l AM
19    To: Kasa�s, Oov�las <OKmlcs@cplqglobal.com>
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20    Cc: Vonlindern, Kathy <Kathy.vonlindetn@�piqglobal.toni>
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23    According to the tSI Protocol Order (See attached), all the parties ag1eed that the time was supposed to be processed in ti
      local lime i.e. POT/PST.
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27    Time?
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                                                      COMPLAINT - DEMAND FOR JURY TRIAL
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 1   the UTC time zone versus the stipulated PST time Zone. See DC Dkt. 1 6 1 to 1 64 for a
2    detail analysis of how these actions had prej udiced Huynh in his lawsuit against Walmmi.
 3
 4             311.     David and Kari deRube1iis, Nadir, Kasales and Lindem acted in concert to

5    mutilate the he headers of Huynh's emails produced to Walmart to obstruct Huynh from
 6   using them to suppo1i his opposition brief to oppose Walmaii's motion for summary
 7
     judgement.
 8

9                       Case 3:18-cv-01631-VC Document 124-1 Filed 09/19/19 Page 2 of 3
10    Message
       From:       Tri H uynh [/o:::Exchangelabs/ou=Exchange Administrative Group
11
                   (FYDI BOHF23SPDLT)/cn=Recip ients/cn=c146c343 bc8b448fbbb54e5d 19620c62-Tri Huynh -]
12    on behalf of Tri H uynh [/o=exchangelabs/ou=exchange administrative group
                   (fydibohf23spdlt)/cn;;recipi ents/cn;c146c343bc8b448fbbb54e5d 19620c62 •tri huynh -]
13    Sent:        1/4/2017 3 :59:45 PM
      To:          'Marc Lore • Executive CEO' [mclrc@walrm rt.com]; Michael Bender EVP <1nd Chief O perations Officer
14                 [michael.bender@wal mart.com]
      Subject:     Ethics violation/intentional dishonesty at the executive level - N egatively impacting Wal mart's reputation
15
      Attachments: Veritas_Tri Huynh_01042017 . pdf
16
17             3 1 2.   deRubertis leaked the confidential information Huynh shared with him in
18   20 1 7 which proved that Huynh' s role was not eliminated. This leaked information trig­
19
     gered the Rescue Squad and the Walmart participants to engage in evidence concealment
20
     of material facts to prevent Huynh from impeaching Walmart's false assertion that
21
     Huynh' s role was eliminated as part of the RIF. Additionally, to support this false asser­
22
23   tions, Seth Beal (DC Dkt. 1 7 1 - 1 at 1 3 ,r 62) and Valerie Ricetti (DC Dkt. 1 1 7-2 at 8-9 ,r

24   44) submitted false declarations under oath to purportedly sworn that Huynh role was

25   eliminated as part of the RIF when it was not. Brass and Stewart filed these documents
26   and the declarations in late Aug 20 1 9 to support Walmart's motion for summary judge­
27
     ment even though they knew these documents were fabricated.
28
                                                   1 76
                                  COMPLAINT - DEMAND FOR JURY TRIAL
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 1
 2                  RICO Defendants Concealed Evidence Which Proved Huynh's Role Was Not Eliminated
 3

 4
     I   On Januarr W,         i�l1 �c1l1 8c,tl Announced Tlrni 1l1c BD Team Wa \o
                                                                                                                   Case 3:18-cv-016ll·VC [}x(;ment 130-19 f::eo 09,Wl9 Page £ o: 3
                                                                                         orocd in10 1l1c Ri:Ql'l'.STl'OR PROllt:nlO� �O. 9:
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21
22                                                          The 400 Missing Pages of Documents

23                        3 1 3.       Huynh terminated his relationship with David deRubertis and the deRu­
24
         bertis Law Firm in Nov 201 8. After David deRubertis was no longer Huynh's lawyer,
25
         David deRubertis acted in concert with the Rescue Squad, Kasales, and Linem to with­
26
         hold and and conceal 386 pages of documents to obstruct Huynh from using them to
27
28       prosecute his SOX claim against Walmait. Below is the Feb 1 1, 201 9 letter Huynh sent to
                                                      1 77
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 1   Rachel Brass to put her on notice about the missing documents. This was done in an at­
 2   tempt to obstruct Huynh fmm using these documents to prosecute his SOX claim against
 3
     Walmart.
 4
                                                                                                          • At least 386 pages were missing horn the documcnls produced by Walmart (fxduding
                                                                                              lri Huynn
 5                                                                                                          At1orney [yes Only). See tne taole below.
                                                                                      4011 1l4tn Ave It
 6                                                                                                         Missing Pages From Walmart Produced Documents
                                                                                     8ell�Ne, WA �8006
 7                                                                                                         BegBates        EndBales             ff of Pages Remaris

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                                                                                      Tel. 408.757.1116
 8                                                                                                         WMOOOOS90       WMiro:J600                      Attorney Eyes Only
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11
                                                                                                           WM0000658       WMiro:J658                I     Missing
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15                                                                                                         WM00003621      WMiro:Jl129              109    Missing
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16                                                                                                                             Total               386
        Re:      Hvinn v, \Val-Mart ltore11 In<. et a:., Case No, l:18•(V•016ll•VC
17                                                                                                                               Total      I      m
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                                                       COMPLAINT - DEMAND FOR JURY TRIAL
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 1           The Federal Rules of Civil Procedure Is the Second Guardrails of Truth
2
             3 14.   The Federal Rules Civil Procedure (F.R.C.P) was designed and institution­
 3
     alized across our Federal Courts to serve as guardrails to protect the sanctity of our judi­
4
     cial process and to ensure equal justice law for all. F.R.C.P implements an adversarial
5
 6   system by means of rnles that ensure litigants get their cases heard on the merits. The par­

 7   adigmatic merits determination in suits at common law is the jury verdict, which follows

8    a trial where the judge officiates between adversaries. It provides the mechanism for ap­
9
      plying substantive law to real disputes. Such a system sets guidelines as to what infor­
10
      mation the judge or jury receives, how that information is to be presented, and by what
11
     standards of proof (e.g., "beyond a reasonable doubt," "by clear and convincing evi­
12
     dence," "by a preponderance of the evidence") the information will be adjudged. These
13

14   rigorous procedures seek to ensure the impaiiiality of jurors as fact finders, as contrasted

15    with judges, who enjoy a more robust presumption of impartiality in their traditional role

     as umpires on questions of law51 .
16
17

18
19   51
        " If experience demands a presumption that a judge will seize every oppo1iunity presented
20   to him in the course of his official conduct to line his pockets, no canon of ethics or statute re­
     garding disqualification can save our judicial system." -Justice William Rehnquist
21
       William H. Rehnquist, Sense and Nonsense About Judicial Ethics, 28 REC. ASS'N B.
22     CITY N.Y. 694, 699-700 (1973). Our system of government is premised upon subservi­
23     ence to the rule of law. If a judge in the exercise of judicial power loses sight of these
       principles, the result is autocratic rule by lawless judicial action. " Reserve Mining Co. v.
24     Lord, 529 F.2d 181, 188 (8th Cir. 1976). " [T]he right to an impartial decision-maker is re­
       quired by due process." Arnett v. Kennedy, 416 U.S. 134, 197 (1974) (White, J., concur­
25     ring in part and dissenting in part). Goldberg v. Kelly, 397 U.S. 254, 271 (1970) (an im­
       partial decision maker is essential).
26
       Fraud on the court is "only that species of fraud which does, or attempts to, defile the
27     court itself, or is a fraud perpetrated by officers of the court so that the judicial machinery
       cannot perform in the usual manner its impartial task of adjudging cases that are presented
28     for adjudication. " Courts have found fraud upon the court only where there has been the
                                                         179
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 1          3 15.   While the F.R.C.P afford judges opportunities to decide cases on the mer­
 2   its prior to trial to drive j udicial economy and cost efficiencies for litigants, those oppor­
 3
     tunities are carefully circumscribed to reduce the risk of uninf01med, premature judg­

     ments that could fairly be characterized as prej udice. Thus, for example, in a defendant1 s
 4
 5
     motion to dismiss for failure to state a claim, the judge must accept as true all facts al­
 6
 7   leged in the complaint, and must e1T on the side of non-dismissal by construing the com­

 8   plaint liberally and drawing all reasonable inferences in plaintiffs favor.
                         1
                             1
                                                                                   1 1
                                                                                    1    And at the

 9   summary judgment stage, the j udge must let the case proceed to trial unless there is no    11



10
     genuine dispute as to any material fact.   1
                                                    1



11
             316.   At an elemental level, then, the F.R.C.P and the adversarial process it reg­
12
13   ulates restrict the authority of j udges to act upon their predispositions, prej udices, and

14   personal biases by sharply limiting their opportunities to end cases before the necessary

15   facts can be adduced and the merits explored. Professor Judith Resnik described the un­
16
     derlying problem as one of prejudgment: Deciding at one point in time versus another is
17
     not intrinsically faulty unless the assumption is that prejudgment is based upon incom­
18
     plete or inaccurate infonnation. Prejudgment is suspect in the context of a system that as­
19
     sumes an increase in information over time and designates specific points in time when
20
21   the act ofj udging becomes legitimate. By necessary implication, prej udgment is illegiti­

22   mate because j udges who lack the information needed to make reasoned determinations
23
24

25
26     most egregious conduct involving a conuption of the judicial process itself. Examples are
       bribery ofjudges, employment of counsel to ' influence1 the court, bribery of the jury, and
27     the involvement of an attorney (an officer of the court) in the perpetration of fraud. Id. at  11

       63 1 -632
28
                                                  1 80
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 1    on the merits must ground their decisions in under-informed speculation that is preju­
 2    diced (and hence, partial) by definition. Professor Lon Fuller credited the adversarial pro­
 3
      cess with imposing a structure that controls the judge's propensity toward premature deci­
 4
      sions grounded in personal predilections : An adversary presentation seems the only effec­
 5
      tive means for combating this natural human tendency to j udge too swiftly in terms of the
 6
 7    familiar that which is not yet fully known. The arguments of counsel hold the case, as it

 8    were, in suspension between two opposing interpretations of it. While the proper classifi­

 9    cation of the case is thus kept unresolved, there is time to explore all of its peculiarities
10
      and nuances.
11
                     Similarly Situated Litigants Are Treated Equally Under the Law
12
13            317.    Numerous case laws in our Judiciary ensure consistent and uniform appli­
14    cations of the Federal Rules of Civil Procedures and District Court's Local Rules to en­
15
      sure that j ustice be served for all.
16
17        •     Sutton Place Development Co. v. Abacus Mortgage Investment Co., 826 F.2d
                63 7, 640 (7th Cir. 1987) (noting that "the federal rules [of civil procedure] are
18              carefully crafted instruments designed to achieve, by their unifonn application,
19              fairness . . . in the conduct of federal litigation").

20        •     Numerous doctrines of reviewability are contained in our case law and our rules
                of appellate procedure. Uniform application thereof ensures that similarly situ­
21              ated litigants are treated in a consistent and, hence, j ust manner. See, e.g., Silk­
22              wood v. Kerr-McGee Corp., 667 F.2d 908, 916 (10th Cir. 1981) ("the objective
                of * 521 doing equal justice cannot be attained absent a consistent application of
23              the rules"); Park City Hospital v. Commission on Hospitals Health Care, 14
24              Conn. App. 413, 423, 542 A.2d 326 (1988) (Bieluch, J., dissenting) ("due pro­
                cess in the administration of j ustice requires the unifonn application of the rules
25              of practice"), affd, 210 Conn. 697, 556 A.2d 602 (1989).
26        •     "The Federal Rules are "as binding as any statute duly enacted by Congress, and
27              federal comis have no more discretion to disregard the mandate [of a Federal
                Rule] than they do to disregard constitutional or statutory provisions. Bank of
28
                                                181
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 1             Nova Scotia v. United States, 487 U.S. 250, 255 (1988) (stating that "a federal
               court may not invoke supervisory power to circumvent" the dictates of a Federal
2
               Rule of Criminal Procedure, id. at 254)."
 3
4
         Motion for Summary Judgement52 (Trial Without Jury)- A Pro Se's Nightmare
5
 6           318.     Summary judgment is a critical event in the course of federal civil justice
 7    designed to dispose cases that lack the merits to be trialed by Jury. However, summary
8
     j udgement motion poses a lot of challenges for pro se litigants. For pro se claims, the ef­
9
      fect of summary judgment motions is dramatic. At trials, parties without lawyers can at
10
      least testify. Win or lose, they air their complaints publicly (subject to evidentiary rule
11
12    hurdles) and receive a determination of their claims' merits. Not so when defendants file

13    summary judgment motions. Then, rule technicalities befitting Kafka can exclude factual

14    assertions and prevent even a j udge, let alone a jury, from considering the merits.
15

16            3 19.   To address these challenges, courts across our land have been known to

17    make accommodations for self-represented litigants during summary judgement. One of
18
      the accommodations courts have approved for self-represented litigants to prevent "inad­
19
      vertent forfeiture of important rights because of their lack of legal training. " 53 "Legal
20
21
22    52 Rule 56 (a) MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDG­
23    MENT. A paiiy may move for summary j udgment, identifying each claim or defense-or the
      part of each claim or defense-on which summary j udgment is sought. The court shall grant
24    summary j udgment if the movant shows that there is no genuine dispute as to any material
      fact and the movant is entitled to judgment as a matter of law. The court should state on the
25    record the reasons for granting or denying the motion.
26
      53
         Traguth v. Zuck, 710 F.2d 90, 95 (2nd Circuit 1983). See also Lombardi v. Citizens Na­
      tional Trust & Savings Bank, 289 P.2d 823 , 824 (California 2nd District Court of Appeal
27    1955) (judge has duty to see that a self-represented litigant's cause is not defeated by mere in­
      advertence or
28    want of attention).
                                                       182
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 1   technicalities must be tempered by justice." 54. Some courts also used oral arguments as a
 2
     tool to ask probing questions to liberally construe a pro se litigant's opposition brief
 3
     against the Defendants' motion for summary judgement. See Terio v. Carlin, No. 10-
 4
      CV-3201, 2010 WL 41 1 7434, at *1 n. 1 (S.D.N.Y. Sept. 27, 201 0) (considering the
 5

 6   plaintiffs "statements at oral argument in deciphering [the] [p]laintiffs claims"), adopted

 7    by 2010 WL 4117377. See paragraph X for discussions used oral argument to draw out
 8   answers not only from Pro Se Litigants but also those who were represented by counsel.
 9
      Additionally, although F.R.C.P Rule 56(e) was designed for all litigants, it specifically
10
     addressed many of the difficulties Pro Se litigants have in submitting material facts into
11
      the records in support of their opposition brief to oppose the Defendant's motion for sum­
12
13    mary judgement.

14
         Rule 56(e) states: FAILING TO PROPERLY SUPPORT OR ADDRESS A FACT. If
15       a party fails to properly support an assertion of fact or fails to properly address an­
         other party's assertion of fact as required by Rule 56(c), the court may:
16
         1 ) give an opportunity to properly support or address the fact;
17
         2) consider the fact undisputed for purposes of the motion;
18       3) grant summary judgment if the motion and supporting materials-including the
             facts considered undisputed-show that the movant is entitled to it; or
19
         4) issue any other appropriate order.
20

21                         Locked Out of Court - You Are Not Welcome Here!
22
             320.    Walmart filed their Motion for Summary Judgement on Aug 29, 201 9 (DC
23
     Dkt. 113 to 1 23). Huynh filed his opposition brief on Sept 19, 20 1 9 (DC Dkt. 1 24).
24
     However, Huynh was not able to file material facts along with the opposition brief be­
25

26   cause these documents still designated as confidential by Walmart (even though they

27

28   54 Rappleyea v. Campbell, 884 P.2d 126, 132 (California 1 994) (Arabian, concurring).
                                                   183
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     Case 3:22-cv-00142-JSC Document 1-1 Filed 01/10/22 Page 84 of 100




 1    were not) and Huynh didn't know how to file these documents under seal.
 2                Case 3:18-cv-01631-VC Document 79 Filed 06/18/19 Page 1 of 2

 3       4                                       U N ITED STATES lJISTR JCT COURT

 4       5                                     NORTH ERN DISTR ICT or- CJ\ LtrOR N I /\

5        6
         7      TIU M INH HUY NH,                                        Case No. 1 8-cv-O l Ci., i -VC ( S K )
 6
         8                       Plainti ff.
 7                                                                       ORDER REGA RDING ,JO I NT
         9               v.                                              DISCOVERY LETTER FI LED ON
8                                                                        JUNE 3, 20 1 9
        lO      WA L-MA RT ASSOCIATES, INC., et al.,
 9      11                       Defendants.                             Regarding Docket No. 75

10      12            Now before the Court is the joint discovery letter brief filed on J u ne 3, 20 1 9. Plaint i ff Tri
        13   M inh H uynh ("Plaint in") chal lenges the designation M 65 docunwnts as "Confakmtial" pursuant
11
        14   t o the protective order i n this case. ( Dkts. 38. 38- 1 ). Defendants provided the contested
12
        I5   <kicumcnts to t he Court l(ir in camem review. A fier review, the Court OR DERS De fondants to
13      16   designate .�JJer.:ifo: pages ns "Confidential." Defendants argue that there ·f10uld be one designation
14      l7    for an ent ire document, as opposed to speci fie pages within a document, as ''Confidential" and cite
15      18   to the ES! Protocol (Dkt. 36) as support for thjs proposit ion. However. the ES! Protocol docs not
        19   support that posi t ion. Defendants must designate only the pages or portions o fl he documents that
16
        20   nrc con fidential. and provide that informat ion to Plaint i ff by July I , 2 0 1 9. ·1 f Plnintiff further
17
        21   wishes to challenge the con fidentiality ol'thosc documents, Plaintiff must meet and confer with
18
        22   Defendants before submitting this dispute again to the Court.
19
20           3 2 1.   Huynh foresaw filing document under seal as a major challenge to oppose

21    Walmart's motion for summary judgement several months earlier. So, Huynh filed a dis­
22    covery dispute brief with Magistrate Judge Sallie Kim in early June 2019 DC Dkt. 75 and
23
      76) to request Judge Kim to order Walmart to remove the confidentiality designation for
24
      only 65 pages of non-confidential documents which Huynh needed to oppose Walmart's
25
      motion for summary judgement. The next day Judge Kim ordered Walmart to submit the
26
27    65 pages of documents for in-camera review. DC Dkt. 77. However, despite having con­

28    ducted the in-camera review, Judge Kim issued an order on July 2, 2019 (DC Dkt. 79) to
                                                    184
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1     basically give Walmart a free pass to pick and choose which of the 65 disputed pages
2     Walmart wanted to produce to Huynh without the confidentiality designation. Subse­
3
      quently, Walmart only removed the confidentiality designation for one page out of the
4
      sixty-five disputed pages.
 5
 6            322.    At that time, Huynh didn't know any better so he believed Magistrate

 7    Judge Sallie Kim's order was proper. However, Huynh recently discovered that after a
 8    District Judge or a Magistrate Judge performed in-camera review for disputed documents
 9
      that Judge most of the time will issue an order to give specific instructions to the produc­
10
      ing paiiy what they must do with regard to the disputed documents. For example, if the
11
      litigants disputed the confidentiality designation for 65 pages of documents, then after the
12
13    judge completed the in-camera review, the judge would issue an order with specific in­

14    structions to the producing party as to which of the 65 pages they could retain the confi­

15    dentiality designation and which they could not. Therefore, by giving Walmart the option
16
      to decide which of the 65 pages they wanted to produce to Huynh without the confidenti­
17
      ality designation was prejudicial, and improper. This is akin to letting "the fox guarding
18
      the hen house". The links below are discovery dispute orders issued by Judges at the
19
      United States District Comi, Northern District of California after completing in camera
20

21    reviews.

22
         1.      https ://storage.courtlistener. com/re-
23               cap/gov. uscourts. cand. 32042 l /gov. uscourts.cand.32042 1 . 1 05 . 0.pdf) - Judge Kim
                 order after in-camera review.
24      11.      https://storage.courtlistener.com/re­
                 cap/gov.uscourts.cand.364504/gov.uscourts.cand.364504.174.0.pdf
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       111.      https://storage.courtlistener.com/re­
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 7
         X.      https ://storage.courtlistener.com/re-
 8               cap/gov.uscomts.cand.174323/gov.uscourts.cand.174323 .38.0.pdf

 9
                323.   In Magistrate Judge Sallie Kim order (DC Dkt. 79), Judge Kim wrote "If
10
      Plaintiff further wishes to challenge the confidentiality of those documents, Plaintiff must
11
      meet and confer with Defendants before submitting this dispute again to the Court." So,
12
13    after Huynh and the Rescue Squad met and conferred multiple times regarding the re­

14    maining 64 disputed pages and the Rescue Squad still refused to remove the confidential
15    designation for these pages, Huynh filed a second discovery brief letter on Aug 13, 2019
16
      (DC Dkt. 103-104) to request Magistrate Judge Sallie Kim to order Walmart to remove
17
      the confidentiality designation from these pages. On the very same day, Magistrate
18
      Judge Sallie Kim issued an order (DC Dkt. 106) denying Huynh's requests for no rational
19
20    basis.

21
22
23
24

25
26
27
28
                                                186
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 1
             TRI M I N H H U Y N H ,                                  Case No. 1 8-cv-0 1 63 1 -VC (SK)
 2
                               Plaint i ff�
 3
                                                                      ORDER R EGARDING JOINT LETTE R
                       V.                                             BRIEF O N CONFIDENTIALITY
4
             WAL-MART ASSOCIATES, INC., ct al.,
                                                                      DESIGNATf ONS
 5
                               Defendants.                            Regarding Docket No. I 03
 6
                  On August 1 3, 20 1 9, the parties fi led a joint   letter brief to address Defendants'
 7
           confi dentiality designations. Plaint i ff chal lenges the con fidentiality designation by Defendants of
 8
           ccrrnin documents. Plaintiff argues that he needs the contested documents to prove his case and to
           oppose Defendants· motion for summary judgment, which Defendants l1.1ve not yet filed. Pla i n t i ff
 9

           misunderstands the designation of confidentiality under the terms of the Protect ive Order i n this
10

           case. Pla i n t i ff can use any con fidential documents to prove his case and to oppose any motion for
11
12         sum mar ·ud ltnent, but he must com )ly with the terms of the Protecti ve Order in doinn so.

                   For that reason, Plain t i ff's motion is DEN IED.
                                                                          First, if a document. is not confidential then Judge Kim
13                                                                         hould have ordered Wal mart to remove the

                   IT IS SO ORDERED.
                                                                           onfidential designation independent of what
14                                                                        Huynh's must do. Second, Huynh was acting Pro Se

           Dated: August 1 3, 20 1 9
                                                                           nd he didn't know how to file document under seal.
15
16
                                                               SALLJ E K IM
                                                               United States Magistrate J udge
17
18
19              324.        Two days after filing his opposition brief toWalmart's motion for sum­
20    mary judgment, Huynh filed a motion for leave to supplement his opposition brief (DC
21
      Dkt. 127) as afforded by F.R.C.P Rule 56(e). Since Huynh was w01Tied that he may not
22
      be able to supplement his opposition brief timely, he emailed Judge Chhabria 's Court­
23
      room Deputy, Ms. Kristen, for help 55 . Brass, immediately replied to Huynh's email.
24
25
      55
26       Dear Ms. Melen,
      I apologized for reaching out to you today to seek your help regarding the motion I filed on
27    9/2 1/20 19 (Dkt. 127) for leave to file supplement to Plaintiffs opposition toWalmart 's mo­
      tion for summary judgment.
28    Oiven that I am acting Pro Se and not a professional lawyer, I am afraid that I may miss my
                                                        187
                                       COMPLAINT - DEMAND FOR JURY TRIAL
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 1    Brass wrote "Dear Ms. Melen, We will be filing a response to Mr. Huynh's motion today,
 2    and respectfully request that the Court defer ruling until that response is on file".
 3
 4            3 25 .   Although the Rescue Squad and the Walmart Participants knew with cer­

 5    tainty that Huynh had every right to supplement his records per F.R.C.P 56(e), they e­
 6    filed their opposition to Huynh's motion (DC. Dkt. 128) a few days later. In their brief
 7
      they misrepresented the laws in an attempt to obstruct Huynh from submitting additional
 8
      material facts into the record defend himself against Walmart's motion for summary
 9
     judgement. The case laws cited by the Rescue Squad had nothing to do with Huynh's mo­
10
11   tion for leave to supplement his opposition brief.

12
          •     Accordingly, Plaintiffs request for leave to amend his opposition brief to add
13              new exhibits should be denied. See Banga v. K.anios, 2016 WL 7230870, at *2,
                n. 3 (N.D. Cal. Dec. 14, 2016) (denying motion to extend deadline to oppose
14
                motion to dismiss because pro se plaintiff "d[id] not explain why he did not re­
15              quest an extension before the response deadline passed, or why his neglect to do
                so is excusable."
16
          •     Porter v. Jennings, 2013 WL 552123 , at *1 (E.D. Cal. Feb. 12, 2013) (denying
17              motion to extend deadline to amend pleadings and conduct discovery because
                pro se Plaintiff "present[ed] no documents demonstrating that good cause ex­
18              ists" and "present[ed] no argument that would merit granting modification.")
19
20
21
22
23
24
25   chance to supplement my opposition to Walmart's motion for summary judgement. This is
26   critical for me to have a fair chance to present my arguments to the Court regarding my oppo­
     sition to Walmart's motion for summary judgement.
27   I hope you could let Judge Chhabra know my situation so he could review and render judg­
     ment on my request.
28
                                               188
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1                                            Local Rules on Motion Practice
2
                  326.   According to the United States District Court, N01them District of Califor­
 3
4     nia's Handbook for Pro Se Litigants56 it should not have taken more than a month (espe-

 5    cially when Huynh's motion is relatively straight forward and didn't need a court hear­
 6
      ing) for District Judge Chhabria to rnle on Huynh's motion. However, for 122 days after
 7
      Walmart filed their opposition brief, Judge Chhabria never rule on Huynh's motion de­
 8
      spite Huynh's multiple requests. Judge Chhabria ultimately granted Walmart summary
 9
10    j udgement without ruling on Huynh's motion. In short, District Judge Vince Chhabria

11    locked Huynh out of Court because Huynh was powerless, not wealthy, and had no con­

12    nections in high places.
13                   DIAGRAM VIII. STANDARD Tl MELI N E FOR A CIVIL MOTION

14                                                          Minimum 35 dny$


15
16
       MOTION TERM I N OLOGY AND TI M ELI N E
17     The pa rty who files a motion is the " moving party." The other parties a re "non-moving parties." A party wt10
       does not want tl1e motion to be granted is tl1e "opposing party."
18     Civil Local Rules 7-2 and 7-3 set out the minimum ti me periods between each filing and the hearing

19           1.   FILING. The moving party files a motion explaining what action he or she wants the Court to take and
                  why. The moving party chooses as a hearing date a day when the assigned judge has a "civil law a nd
                  motion calendar" scl1edu led; tliat date must be at least 35 days from tile motion filing date.
20
             2. OPPOSITION . The opposing party files an opposition brief explaining why it believes the Court should
                not gra nt the moving party's motion. It is due no later than 14 days after t11e motion filing date.
21
             3. R EPLY. The moving party may file, no later than 7 days after the due date for the opposition brief, a
                reply brief In which It responds on ly to the a rguments made by the opposing party·s opposition brief.
22              After this is done, neither party can file any more documents a bout the motion without first getting
                permission from tile Court.
23           4. H EARING .• After tile motion and tile briefs are filecl, the Court can decide the motion based entirely
                on the a rguments in the papers, or it can hold a hearing. If the Court holds a hearing, eacti party will
24              be given a chance to tall� to the court a bout the a rguments i n their papers. The Court then announces
                its decision in the courtroom or sends the parties a written decision.
25
           Source: United States District Cowt of Northern District of California's Representing Yourself in
           Federal Covrl: A Handbook for Pro Se Litigants MARK B. BUSBY Clerk of the Cou,t 2020 Edition
26

      56
27
        https://cand.uscourts.gov/wp-content/uploads/2020/02/Pro Se Hand­
28    book 2020ed links 12-2021 MBB.pdf
                                                    189
                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1                          No Hearing for You - You Can't Handle the Truth
 2
              327.    Between Oct and Nov of 2019, Huynh filed multiple notices to put District
 3
      Judge Vince Chhabria on notice that the Rescue Squad conspired with deRubertis to mu­
 4
      tilate evidence to prevent Huynh from using them to oppose Walmart's motion for sum­
 5
 6    mary judgement.


                Walmart violated Huynh's 7 th amendment right by blocking Huynh from sup­
 7
         i.
 8              plementing his opposition brief with material facts. DC Dkt. 153 on Oct 13 .
 9      11.     David deRubertis secretly leaked Huynh's confidential psychiatrist records un­
                der the table without the confidentiality designations which the RICO Defend­
10              ants used to effectuate prong #2, #3 and #6 of the Enterprise's coverup scheme.
                DC Dkt. 153, 155, 156,158, 159, and 160.
                a. DC Dkt 158-4 showed that Doug Kales provided the last Bate Number57 of
11
12                 the official Epiq production so Kari and David deRubertis could manually
                   create a 265 Supersize PDF file without the confidentially designation to
13
                   leak Huynh's medical records as well as the content of Huynh's 4/19/17
14                 SEC submission to the Rescue Squad.
       111.     The Rescue Squad, David deRubertis, Kari deRubertis, Doug Kasales, and the
15
                other RICO Defendants engaged in a conspiracy to destroy and mutilate docu­
16              ments Huynh produced to Walmart by shifting the time and date of Huynh's
                outlook emails and calendar events by +8 hours which prevented Huynh from
17              using them to oppose Walmart's motion for summary Judgement. DC Dkt. 161,
                162, 163 .
18
19            328 .   On Nov 4, 2019, Huynh filed DC Dkt. 164 to provide District Judge Vince
20
     Chhabria with clear and convincing evidence which proved that the Rescue Squad and
21
     deRubertis acted in concert to obstruct justice by mutilating and destroying evidence to
22
      block Huynh from defending himself against Walmart's motion for summary j udgement.
23

24   However, instead of taking corrective actions against the wrong doers to prevent inj ustice

25
26   57 The last bates number used in our production is HUYNH0014158, so you should start with
27   HUYNH0014159. The team is almost done with their work. I will be QCing after that, fol­
     lowed by the data being put up on the FTP. I'll advise once we have that done. Let me know
28   tf you have questions. Thank you.
                                                      190
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 1   in his court room, District Judge Vince Chhabria cancelled oral argument for summary
 2   j udgement the next day to prevent Huynh a meaningful opportunity to be heard.
 3

 4      "CLERK'S NOTICE vacating the hearing scheduled for 1 1/7/2019 re 1 1 3 Motion for
        Summary Judgment, and 125 Motion for Sanctions. The Court will issue a written
 5      ruling. (This is a text-only entry generated by the comi. There is no document associ­
        ated with this entry.) (knm, COURT STAFF) (Filed on 1 1/5/2019) (Entered:
 6      1 1/05/20 1 9).
 7
 8          329.     This was done in joint coordination with the Rescue Squad to prevent
 9   Huynh from telling his side of the story at oral argument. The RICO Defendants won-ied
10
     that if the oral argument was not cancelled then all of their misconducts would be cap­
11
     tured in a court transcript which would be made available to the public. Two months later
12
     District Judge Chhabria granted Walmart summary j udgement and dismissed all of
13

14   Huynh's claims.

15
                                   Compassion and Kindness for Others
16
17          330.    District Judge Vince Chhabria was compassionate and kind towards other
18   similarly situated litigants that appeared in his court room him except for Huynh. Histor­
19
     ically, in cases where District Judge Vince Chhabria tentatively planned to grant sum­
20
     mary judgement to the Defendants, Judge Chhabria gave the Plaintiffs lawyers meaning­
21
     ful opportunities to tell the Plaintiffs side of the story before ruling on the Defendant's
22
23   motion for summary judgement. Below are two such examples.

24
            331.    The first case was Non v. Comcast Inc.- Case 3 : 1 4-cv-0 1 845-VC. District
25
     Judge Vince Chhabria asked Non's lawyer very specific questions during oral argument
26
27   concerning similarly situated employees then offered the lawyer a chance to respond. Be­

28   low are excerpts from the oral argument transcript.
                                                     19 1
                             COMPLAINT - DEMAND FOR JURY TRIAL
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1        THE COURT: Good morning.
 2       So, Mr. Bacon, I'll start with you because my -- my tentative inclination is that the
 3       summary judgment motion should be granted, and the -- the place -- the only area

 4       where you could tum me -- could possibly tum me around is on the issue of similarly
         situated employees who received lesser discipline for similar conduct. Now, I guess
 5
         my view about that is -- my tentative view about that is that that doesn't get you over
 6
         the hump of the five employees you discuss. There are two who I think could, you
 7
         know, sort of viewing everything in a light most favorable to the Plaintiff sort of staii
 8       to come close to being similarly situated, and that is the guy who went to Wendy's -­
 9       I'm forget-ting his name -- and Compos, who was the fifth of the employees you men­
10       tioned who said that he was -- said I think a couple of times that he was on a paiiicu­

11       lar block when he really wasn't and later claimed that it was because he had to deal
         with a family emergency. But, you lmow, those two people, at least according to the
12
         records that you sub-mitted on those two people -- I'm pulling up the records now -­
13
         you know, they had different supervisors. The facts are somewhat different, and it
14       seems like you've pulled these employees out of a pretty large universe of employees,
15       right? I mean, they -- I al-lowed you to do discovery on this and they turned over dis­
16       ciplinaiy records of employees who were disciplined for committing serious viola­

17       tions, and I think they turned over a lot of records to you. I don't know exactly how
         many employees they gave you, and maybe you could clarify that and tell me where
18
         that is in the record, but -- and of all of those, you've got two that maybe come close,
19
         and I just -- my -- my tentative inclination is that that's not enough. And so, I'll sort of
20
         be quiet now and let you address what I've -what I've said so far.
21
             332.    The second case was Gutierrez. v. Sodexo, Inc.- Case No. 13-cv-00946-
22
      VC. District Judge Vince Chhabria asked Gutierrez's lawyer very specific questions re­
23
      garding material facts in the record to support Gutierrez's claims of harassment and hos­
24    tile work environment then offered the lawyer an opportunity to respond. Below are ex­
25    cerpts from the oral argument transcript. See DC Dkt. 49 at 3-6.
26

27
28
                                              192
                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1      THE COURT: Good afternoon.
 2      It's the afternoon. So, on this case, I -- you know, I don't think there's any adverse em­
 3      ployment action, and so the question is whether -- the real question is whether there's
 4      enough evidence to support a claim for harassment. My inclination is that there is not

 5      -- and hostile work environment. My inclination is that there is evidence that both the
        supervisor and the employee were difficult people and they were at odds with one an­
 6
        other. And viewing the evidence in a light most favorable to Ms. Gutierrez, her super­
 7
        visor was an unpleasant guy and treated her very poorly, but the instances in which he
 8      treated her poorly based on race or gender, even if you, like I said, view it most favor­
 9      ably to Ms. Gutierrez, are very sparse. And I don't think that they add up to a hostile
10      work environment or harassment claim. So, I wanted to go through your opposition

11      brief where you pmport to tick off everything. And if there's something in there that
        you want to identify that you didn't tick off, please don't hesitate to do that. But if we
12
        go through it, on pages four and five of your brief, the first day Kennedy barked at
13
        Jessica when she offered to help. I don't need you. I'm the boss. You don't understand.
14
        Okay. That's not helpful I think to Ms. Gutierrez. Kennedy tried to inquire about the
15      personal life of the employees who work under him and wanted to know more about
16      her last name and if she was married. There's nothing inherently wrong with that. So,

17      I wanted to go through your opposition brief where you purport to tick off everything.
        And if there's something in there that you want to identify that you didn't tick off,
18
        please don't hesitate to do that. But if we go through it, on pages four and five of your
19
        brief, the first day Kennedy barked at Jessica when she offered to help. I don't need
20
        you. I'm the boss. You don't understand. Okay. That's not helpful I think to Ms.
21      Gutierrez. Kennedy tried to inquire about the personal life of the employees who
22      work under him and wanted to know more about her last name and if she was mar­
23      ried. There's nothing inherently wrong with that. He berated Ms. Gutierrez in front of

24      her coworkers, saying, "That's not the way you do things. What do you think you are
        doing?" That's not helpful to Ms. Gutierrez's case. Kennedy didn't stop berating and
25
        humiliating Gutierrez. A couple days later, he started giving her orders in an angry
26
        tone. She pleaded to stop. And he responded, "I run the operation. I'm the boss. Too
27      bad if you don't like it. 1 1 That doesn't help her claim of race and gender discrimina-
28
                                              193
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 1       tion . . . . But in this instance, you don't have that. I mean you don't have race -- com­
 2       ments about race and gender pervading the mistreatment. You have a couple very

 3       scattered isolated instances, and I just don't think -- I'm not inclined to think that a
         reasonable jury could conclude that all of this hostile treatment to which Ms.
 4
         Gutienez claims.
 5
 6                               Suppression and Exclusion of Material Facts

 7
             333.    District Judge Vince Chhabria wrote in his ruling dismissing all of
 8
     Huynh's claims: "Indeed, Huynh has produced zero evidence of pretext" DC Dkt. 167
 9
10   at 5 . Even though there were plenty of material facts in the record. Given this incon­

11    sistency, Huynh was concerned that District Judge Chhabria may have overlooked the

12   material facts in the record. So, Huynh filed a letter (DC Dkt. 170) dated Jan 19, 2020 to
13
      help guide District Judge Vince Chhabria toward Huynh's evidence of pretext in the rec­
14
      ord in an attempt to persuade Judge Chhabria to reconsider his rulings. In the letter,
15            Case 3: 18-cv-01631.YC Document 170 Filed 01/19/20 Page 2 of 20
16
                 For example, if H uynh was able to bring to the Court's attention these two
17
          material pieces of evidence (ECF 1 43-4 Exhibit 2 1 and E C F 1 39-2 Exhibit B), Huynh
18        could have persuaded the Court to deny Walmart's Motion for Summary Judgement.

19        These two pieces of evidence proved that Walmart's legitimate/non-retaliatory reason
           (i.e. Walmart's January 24, 20 1 7 eCommerce RIF) for Huynh's termination was
20
          pretextual for three main reasons:
21
              1 . Walmart hired 1 O new FTEs for the Marketplace Business Unit between late
22               September and November of 20 1 6 right smack in the middle of the R I F (ECF 1 4 1

23               page 6 line 1 4 t o 1 7 a nd E C F 1 4 3-4 Exhibit 2 1 - WM 00005058),
              2. Walmart concealed the foct that they hired 10 new FTEs prior to firing 4 existing
24
                 FTEs for the January 24, 20 1 7 RIF (ECF 1 4 1 page 6 - line 1 8 to 23 and ECF 1 39-
25               2 Exhibit B).
              3. Walmart Marketplace missed the total labor cost reduction target of 1 0%
26
                 mandated by Marc Lore, Walrnart.corn CEO, by 22% (ECF 1 4 1 - page 6 line 23
27               and page 7 line 1 to 3).
28
                                                 194
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 1    Huynh point to evidence in the record which proved that Beal hired 10 new FTEs into the
 2    Marketplace group right in the middle of a RIF then let go of four existing employees that
 3
      he didn't like (75% Asians and 75% over the age of 50). Although, Beal purportedly
 4
      claimed in his declarations (DC Dkt. 171-1) that Walmart.com needed to cut 10% labor
 5
      cost across the board, Beal missed his cost reduction target by 22%.
 6
 7
             334.    After filing the 1/19/20 letter to District Judge Vince Chhabria, Huynh dis­
 8
      covered that the RICO Defendants (David and Kari deRubertis, Kasales, Lindem, and the
 9
      Rescue Squad) destroyed evidence of Huynh's meeting with Seth Beal on Oct 4 and Oct
10
11    18, 2016 to obstrnct Huynh from proving that he engaged in protected conduct in early

12    Oct 2016. Judge Chhabria cited this lack of evidence to rule that Huynh didn't engage in

13    protected activity prior to 11/30/16. Huynh immediately confronted Kasales and Lindem
14    about the destroyed documents and asked him to give Huynh an explanation so Huynh
15
      could file a motion for reconsideration of Huynh's case dismissal. See COA Dkt. 5-3 at
16
      3 1-36. Kasales emailed and provided evasive and misleading statements in an attempt to
17
     j ustify his actions. However, an hour after Kasales responded to Huynh's question, Dis­
18
19    trict Judge Chhabria issued an order to obstruct Huynh from filing a motion for consider­

20    ation. In his rnling (DC Dkt. 174), District Judge Vince Chhabria purp01iedly construed

21    Huynh's 1/19/20 letter as a request for leave to file a motion for reconsideration then de­
22
      nied the request. See COA Dkt. 5-3 at 34-38. However, per Local Rule 9(a), a litigant
23
     only needs to obtain a Judge's permission to file a motion for reconsideration of an inter­
24
      locutory order not for a final judgment.
25
26
27

28
                                              195
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 1   From: Tri H uynh <tri m h uynh@o utlook.com>
     Sent: Monday, January 27, 2020 9 :09 PM
 2   To: Kasales, Douglas <DKasales@epigglobal.com>; Vonlindern, Kathy < Kathy.vonLindern@epiqglobal.com>
     Cc: Pierre-Blanks, Mandy <mpierre@epiqglobal.com>; Tri H uynh <trimhuynh@outlook.com>
 3   Subject: RE: P lease cancel my January 23, 2020 to close down my a ccount RE: Closing Down My Account - RE:
     OCT Invoice: DLFO00l - H uynh v. Wal mart - 90388522

      Hi Doug,
 4

      In summary, I needed Epiq to explain to me how I could p rove to Ju dge Chhabria that the meeting
 5
      between Seth Beal and I took place on October 4, 2016 based on H UYN H0002782. I n eed this
      information by J a n uary 30, 2020 so I could i nclude it i n my M otion for Reconsideration to appeal
 6
 7    J udge Chhabria's d ecision disposing my case on 1/14/2020.
 8   From: Kasales, Douglas < DKasales@epigglobal.com>
     Sent: Monday, January 27, 2020 3 :47 PM
 9   To: Tri H uynh <trimhuynh@outlook.com>; Vonlindern, Kathy <Kathy.vonLinde(n@epigglobal.com>
     Cc: Pierre-Blanks, M andy <mpierre@epiqglobal.com>
10   Subject: RE: Please cancel my Janua ry 23, 2020 to close down m y account RE: Closing Down My Account - RE:
     OCT I nvoice: DLF000l - H uynh v. Walmart - 90388522
11
      The two documents i n the PDF are a ppointments as displayed in REL and as produced. I have also created a
12    search of a l l calendar entries between 10/1/16 and 10/3 1/16 t h at m ention Seth Beal a n d you (there a re 33
      hits). That search is here (the two documents you sent a re in the results of this search) :
13
      ..f.mm_·______F....,
                      C E_....
                           -C
                            ....A
                                ...N
                                  ....D""l@:!t'c"""a....
                                                     nd.......,11scuurts..g,""
                                                                            ov....______,
14     Sent:
       To:
                    Tuesday, January 28, 2020 1 0:49 AM
                    efiling@cand.uscourts.gov
                                                                                I3
15     Subject:     Activity in Case 3:18-cv-01 631-VC Huynh v. Wal-Mart Stores, Inc. et al. Order
16   D ocket Text:
     ORDER re N otice (0kt. [1 70]). Sig ned by J udge Vince Chhabria on 1 /28/2020. (vc lc2S,
17   COURT STAFF) (Filed o n 1 /28/2020)

18
19            335.     Pursuant to F.R.C.P Rule 59(e), a litigant may file a motion for considera­
20   tion of a final judgement within 28 days after the entry of that judgment. Accordingly,
21
     Huynh filed a motion for reconsideration timely on Feb 9, 2020. Schuemann immediately
22
     contacted Huynh to purportedly claim that Huynh had violated District Judge Vince
23
     Chhabria protective order by not redacting the name of a third-party person in his motion
24
     for reconsideration. Schuemann told Huynh he must address the deficiency. See COA
25
26   Dkt 5-3 60-67. The RICO Defendants attempted to use legal technicality to push Huynh 's

27   motion for reconsideration over the 28 days deadline so District Judge Vince Chhabria
28
                                                              196
                                  COMPLAINT - DEMAND FOR JURY TRIAL
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 1   could deny Huynh's motion for reconsideration for untimeliness versus having to go
2    through Local Rule 7- 1 and 7-2 on motion practice and rnle on Huynh's motion on the
3
     merits. Knowing the Rescue Squad's intentions, Huynh immediately fixed the redaction
4
     issue and filed a notice58 (DC Dkt. 179) to inform Judge Chhabria that Huynh had ad-
 5
6    dressed Walmart's objection. Despite Huynh's notice, District Judge Vince Chhabria is­

7    sued an order two days later to deny Huynh's motion for reconsideration.

 8
             336.   District Judge Vince Chhabria attempted to conceal the fact that he con­
 9
10   spired with the Rescue Squad to deny Huynh's motion for reconsideration without afford­

11   ing Huynh due process protection by purportedly shifting the language he used to charac­

12   terize Huynh's 1/19/20 letter (DC Dkt. 170) from "a request to file a motion for recon­
13    sideration" (used in DC Dkt 174) to "a motion for reconsideration" (used in DC Dkt
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      182). This was done to mislead the public and the media into believing that since Huynh
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      filed duplicate motions for reconsideration Judge Chhabria was justified in denying
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      Huynh's motion without going through the motion practice dictated by Local Rule 7-2
17
18   and 7-3.

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     58
        Huynh wrote in his filing. "Plaintiff Tri Huynh ("Plaintiff' or "Huynh"), acting Pro Se,
25   submits this notice to inform the Court that he had fixed the issue in Dkt. 177 that Walmart's
26   legal counsel brought to his attention (Huynh Deel. in support of Dkt. 179). Plaintiff would
     also be grateful if the Court or the opposing counsels would inform him of any additional is­
27   sues that he needed to fix in Dkt. 175, Dkt. 176, and Dkt. 178 to be in compliance because to­
     day is the deadline for him to fix any additional issues so his Motion for Reconsideration
28   would not be invalidated."
                                                       197
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                     H u y n h's M ot i o n f<;> r R e co n s i d e ra t i o n P r o c e s s
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 6                                                                                                                                                                                                                              tlo llnrin&
       Civil Local Rutes 7•2 and 7-3 sct out the minimum time periods between each filing and uie hearing
 7    District Judge Chhabria Afforded Mahan H i s Cons.titutional Right to Due Process and Equal
      P rotection U n d e r L a w B efor e Dep riving H i m of H i s Constit u t i o n a l Property Right.
 8                                     ""1 h t \\<!"t •O -.. U N                             t'-1'\ t, t t:: �, h,,. , , . ,- , , . , • • '.....& f �-. ,.-:. .. -. , , y O f A O .,, .._:t 6 t .;:' 4, ( \ : 1 ."l -� - • 0-'1 > \ 0 \ )
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                      337.                       The chart above compared how District Judge Vince Chhabria rnled on
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23   Mahan's motion for reconsideration versus Huynh's. The cycle time for Judge Chhabria

24   to rnle on Mahan's motion after it was filed was 62 days versus only 3 days for Huynh's
25   motion. The reason it only took District Judge Vince Chhabria 3 days to deny Huynh's
26
     motion for reconsideration was not because of process efficiency. Rather it was because
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                                                                                                                                                       198
                                                                              COMPLAINT - DEMAND FOR JURY TRIAL
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 1   District Judge Vince Chhabria didn't require Walmart to file an opposition brie:f9 and he
 2
     didn't give Huynh a meaningful opportunity to respond to Walmart's opposition brief be-
 3
     fore denying Huynh's motion for reconsideration.
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 5      District J udge Ch habria Also Treated These Plaintiffs More Favorably
 6      Than H uynh for No Rational Basis
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              u l l 1 r c);. ,• • Sou   o . Inc. (3; 1 3· .v•OO 4 , )

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     59 In most cases, if the opposing party didn't file an opposition brief the moving party's mo­
28   tion would be considered unopposed and the court would rule for the moving party.
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 1           338.    Similarly, the chart above, showed that in Gutienez v. Sodexo, Inc. and
2     J&J Sports Productions, Inc v. Phair, District Judge Vince Chhabria adhered to Local
 3
      Rule 7-2 and 7-3 on motion practice to let the litigants fully briefed their arguments be­
4
      fore ruling of the motion for reconsiderations.
5
 6           339.    In short, District Judge Vince Chhabria treated every other similarly situ­
 7
      ated litigants that appeared in his court room with kindness, compassion, and just. How­
8
      ever, in Huynh 's case the RICO Defendants conuptly enticed District Judge Vince Chha­
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      bria and tum him into their instrument of oppression to lock Huynh out of court.
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                              COMPLAINT - DEMAND FOR JURY TRIAL
